     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 1 of 105




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA



ROCHESTER DRUG CO-OPERATIVE,
INC., on behalf of itself and all others       CIVIL ACTION NO. 0:20-cv-00827
similarly situated,

       Plaintiff,

             v.

MYLAN INC., MYLAN SPECIALTY
L.P., CVS HEALTH CORPORATION,
CAREMARKPCS HEALTH LLC,
CAREMARK LLC, CAREMARK RX
LLC, EXPRESS SCRIPTS HOLDING
COMPANY, EXPRESS SCRIPTS INC.,
MEDCO HEALTH SOLUTIONS INC.,
UNITED HEALTH GROUP
INCORPORATED, UNITED
HEALTHCARE SERVICES INC.,
OPTUM INC., OPTUMRX HOLDINGS,
LLC, and OPTUMRX INC.,

       Defendants.

                           CLASS ACTION COMPLAINT

      Plaintiff Rochester Drug Co-Operative, Inc. (“RDC” or “Plaintiff”), on behalf of

itself and all others similarly situated, for its complaint against Mylan Inc. and Mylan

Specialty L.P. (collectively, “Mylan”), CVS Health Corporation, CaremarkPCS Health,

L.L.C., Caremark L.L.C., and Caremark Rx L.L.C. (collectively, “CVS Caremark”),

Express Scripts Holding Company, Express Scripts, Inc., and Medco Health Solutions,

Inc. (collectively “Express Scripts”), and United Health Group Incorporated, United

Healthcare Services, Inc., Optum, Inc., OptumRx Holdings, LLC, and OptumRx, Inc.

                                           1
      CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 2 of 105




(“OptumRx”) (collectively, “the PBMs” or “the Defendant PBMs”), alleges the following

based on (a) personal knowledge, (b) the investigation of counsel, and (c) information

and belief.

                                 I.     INTRODUCTION

          1.   Plaintiff brings this action on behalf a proposed class of direct purchasers of

EpiPen, EpiPen Jr., EpiPen 2-Pak, 1 and EpiPen Jr. 2-Pak, and generic versions of those

products (collectively or individually, “EpiPen” or “EpiPens”) from Mylan to recover

overcharges due to Mylan’s and the PBMs’ illegal conduct which led to the artificial

inflation of the list prices for EpiPen (and Mylan-sold generic EpiPen) in the United

States.

          2.   Epinephrine auto-injectors (“EAIs”) are devices that allow a patient to

quickly self-administer a prescribed amount of the drug epinephrine through a spring-

loaded needle as an emergency treatment for severe allergic reactions (including

anaphylaxis). EpiPens (which are marketed and distributed by Mylan) are the best-

selling EAI in the United States during the relevant events in this case. From at least 2011

through 2017, Mylan’s branded EpiPens constituted up to 98% of the EAI market in the

United States. During this time period, Mylan’s revenue from EpiPen sales has exceeded

$1 billion annually. While Mylan has shifted sales of branded EpiPen to an authorized-

generic version of the product over the past several years, as of early 2019, Mylan’s


  1An EpiPen 2-Pak is a package containing two EpiPen devices. As of August 2011,
Mylan stopped shipping single EpiPens and made EpiPens available only in 2-Paks.
Mylan Press Release, “Dey Pharma to Offer EpiPen 2-Pak and EpiPen Jr 2-Pak
Exclusively,” 8/24/2011.

                                              2
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 3 of 105




combined sales of branded and generic EpiPen products constituted approximately 72%

of the EAI market in the United States.

       3.    This action arises out of a scheme by Mylan to maintain and/or increase the

volume and dollar amount of its EpiPen sales by paying bribes and kickbacks to the

Defendant PBMs (pharmacy benefit managers), namely defendants Express Scripts, CVS

Caremark, and OptumRx (and other, unnamed PBMs) in exchange for: (a) favorable

placement of Mylan’s EpiPens on the PBMs’ formularies (and the exclusion or restriction

of competing EAI’s on the PBM’s formularies); and (b) the elimination of price

constraints that enabled Mylan to dramatically raise its prices without fear of PBM

penalties.

       4.    Private and public health plans and insurers around the country (including

ones who have contracted with the United States or one of its agencies) have delegated to

the Defendant PBMs day-to-day authority and virtually exclusive control over: (a) the

negotiation of rebates with drug makers, including Mylan; (b) the flow of moneys to

pharmacies and health plans (and therefore how much the PBMs can keep for

themselves); and (c) the structure and composition of formularies, which are a significant

factor in influencing purchasing patterns for drugs. Defendant PBMs are the gatekeepers

of which drugs will be covered by their health plan/insurer clients, and thus they have

influence and/or control over which drugs will be prescribed and purchased.

       5.    Historically, PBMs used their formulary decisions to push patients to

lower-priced drugs, which benefitted the PBMs’ health-plan clients (and their patients).

However, over the past several years, large, dominant PBMs like the Defendant PBMs

                                            3
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 4 of 105




have been coopted to use their formulary decisions for their own benefit (and for that of

manufacturers such as Mylan who paid the Defendant PBMs illegal bribes or kickbacks)

even though such conduct has been contrary to the interests of the PBMs’ health-plan

clients (and other purchasers). As they have grown and consolidated, the Defendant

PBMs have increased their control over formulary decisions for the vast majority of

patients in the United States. Since at least 2014 (if not earlier) the Defendant PBMs

have controlled formulary decisions for 180-200 million lives — which represents

between 75-80% of the total number of patients covered by PBMs. Over the last several

years, Mylan has made payments to the Defendant PBMs (including rebates, incentives,

administrative fees, data fees, and other payments) in exchange for favorable (if not

exclusive) formulary treatment for its EpiPen products.

      6.     The payments impacted not only the EpiPen sales volume, but also enabled

Mylan to dramatically increase its prices to supra-competitive levels without losing sales.

The effect of Mylan’s bribes and kickbacks to the Defendant PBMs has been to corrupt

the market policing mechanisms that the Defendant PBMs would otherwise perform,

causing significant supra-competitive pricing inflation and market-wide consumer harm.

In the past, PBMs would penalize manufacturers who raised their prices too much by

giving formulary preference to lower-priced drugs, which benefitted the PBM’s health-

plan clients. Such conduct worked to limit price increases because a manufacturer that

raised its prices too much risked adverse formulary treatment. However, Mylan’s bribes

coopted the PBMs to favor higher-priced drugs (to their clients’ detriment) because

Defendant PBMs retained a significant portion of the Mylan rebates and did not pass to

                                            4
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 5 of 105




their health plan/insurer clients many of the other fees that they received from Mylan.

This created a conflict of interest, because: (a) the health plan’s interest is in promoting

the lowest-priced drugs and (b) the PBMs’ interest is in generating the highest amount of

rebates and fee payments, even if it results in their health-plans (and patients and

purchasers) being pushed to higher-priced drugs. Indeed, because of this conflict of

interest the Defendant PBMs are not simply indifferent to Mylan’s large annual price

increases, but they actually benefitted from such increases because the price increases

inflated the amount of the bribes and kickbacks that the Defendant PBMs received from

Mylan. This conflict has made the Defendant PBMs natural targets for Mylan’s bribes

and kickbacks because the payments incentivized them to favor the high-priced EpiPen

products.

       7.     Under several federal and state anti-kickback and bribery laws it is, and

was, illegal for Mylan to pay rebates, fees, and other moneys to PBMs in return for

formulary placement. This is especially so because some or all such moneys did not flow

downstream to the insurers/health plans (and/or their members) as discounts.            The

Department of Health and Human Services (the agency responsible for implementing one

federal anti-kickback statute) has made it clear that payments for formulary placement are

not exempted under the anti-kickback statute as “discounts.”

       8.     Furthermore, PBMs owe a duty of fidelity (and/or a fiduciary duty) to their

health plan/insurance clients (and their participants and beneficiaries), because of: (a) the

contractual relationships between the PBMs and their health plan/insurer clients; and (b)

the PBMs’ position as agents, trustees, employees, and/or contractors for their health

                                             5
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 6 of 105




plan/insurer clients.

        9.    Mylan’s and the Defendant PBMs’ scheme (which began by 2012, if not

earlier) had the purpose and/or effect of eliminating a check on Mylan’s ability to

aggressively increase its list prices for EpiPens. Consequently, both to: (a) generate the

bribe and kickback money it paid to the Defendant PBMs, and (b) profit from the

decreased competition and improperly-obtained pricing power, Mylan aggressively

increased its EpiPen list prices far beyond what it would have (and could have) done

absent the scheme. EpiPen list prices were below $240 at the end of 2012 and increased

over the next four years to $609 in May 2016.

        10.   It was improper and illegal under one or more state and federal laws for

Mylan to pay bribes and kickbacks to the Defendant PBMs to act contrary to the interests

of their health plan/insurer clients and to conceal same. Because Mylan’s bribes and

kickbacks (and accompanying fraud in concealing that its list price increases were part

and parcel of the bribes and kickbacks) enabled and caused tremendous EpiPen list price

increases that would not have happened absent the misconduct alleged herein, Mylan’s

illegal conduct allowed it to improperly maintain and extend its monopoly pricing power

in the EAI market. Mylan’s conduct violated both the Racketeer Influenced and Corrupt

Organizations Act, 18 U.S.C. § 1961, et seq. and Section 2 of the Sherman Act, 15 U.S.C.

§ 2.

        11.   Plaintiff (and the other class members) are direct purchasers of Mylan’s

branded and generic EpiPens. They buy directly from Mylan at the list price. They were

overcharged by Mylan’s and the Defendant PBMs’ scheme because absent the scheme

                                            6
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 7 of 105




they would have paid lower list prices for the EpiPens they purchased. Plaintiff, on

behalf of itself and other direct purchasers, seeks recovery of those overcharges.

       12.    Plaintiff’s allegations are based on its own experience; the research of

counsel; publicly available articles, studies, reports, and other sources; a reasonable

inquiry under the circumstances; and on information and belief.

                                     II.    PARTIES

       13.    Plaintiff Rochester Drug Co-Operative, Inc. is a stock corporation duly

formed and existing under the New York Cooperative Corporations Law, with its

principal place of business at 50 Jet View Drive, Rochester, NY. During the Class

period, as defined below, Plaintiff purchased branded and generic EpiPens directly from

Mylan and was injured as a result of Mylan’s and the Defendant PBMs’ unlawful

conduct.

       14.    Defendant Mylan Inc. is one of the largest pharmaceutical companies in the

world, has its principal place of business at 1000 Mylan Boulevard, Canonsburg,

Pennsylvania 15317. Mylan owns the trademarks on the EpiPen tradenames and has

worldwide rights to market and sell EpiPens. Mylan acquired these rights in 2007

through its acquisition of Merck KGaA’s generics business and Dey L.P. In 2014, Mylan

executed a “corporate inversion” that moved its headquarters to the Netherlands. On

information and belief, Mylan moved its headquarters out of the United States to avoid

paying taxes at the U.S. corporate tax rates.

       15.    Defendant Mylan Specialty L.P. is a Delaware limited partnership with its

principal place of business at 781 Chestnut Ridge Road, West Virginia 26505. Mylan

                                                7
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 8 of 105




Specialty is a wholly owned subsidiary of Mylan Inc. Mylan Specialty is represented as a

“specialty pharmaceutical company focused on the development, manufacturing and

marketing of prescription drug products for the treatment of a [sic] respiratory diseases,

life-threatening allergic reactions [including EpiPen and EpiPen Jr. auto-injectors],

general anesthesia and psychiatric disorders.” Mylan Specialty was formerly known as

Dey Pharma until February 2012, when Mylan Inc. changed its name to Mylan Specialty.

At all relevant times during the Class Period prior to 2013, Mylan Specialty was

headquartered in Basking Ridge, New Jersey.

       16.    For purposes of clarity, Plaintiff herein collectively refers to Mylan Inc. and

Mylan Specialty L.P. as “Mylan.”

       17.    Defendant CVS Health Corporation is a retail pharmacy and healthcare

company headquartered at One CVS Drive, Woonsocket, Rhode Island 02895 and

incorporated in Delaware. CVS Health Corporation, through its Pharmacy Services

Segment, provides pharmacy benefit management services to various health insurance

entities on behalf of nearly 90 million health plan participants. In its 2016 Annual Report,

CVS Health Corporation repeatedly referred to itself as a PBM, stating that it is “the

largest integrated pharmacy health care provider in the United States” and that it

“provides a full range of pharmacy benefit management services.” In its 2016 Annual

Report, CVS Health Corporation further stated that one of its three business segments is

its Pharmacy Services Segment, which provides “a full range of pharmacy benefit

management [] solutions, including plan design offerings and administration, formulary

management,” and that approximately 60% of its 2016 revenues were derived from its

                                             8
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 9 of 105




Pharmacy Services Segment.

      18.    Defendant CaremarkPCS Health, L.L.C., a Delaware limited liability

corporation, formerly known as Caremark PCS Health, L.P., was incorporated in 2002

and is headquartered at 750 West John Carpenter Freeway, Irving, Texas 75039.

CaremarkPCS Health, L.L.C., d/b/a CVS Caremark, provides pharmacy benefit

management services to various health insurance entities. CaremarkPCS Health, L.L.C. is

a wholly owned subsidiary of CVS Health Corporation.

      19.    Defendant Caremark, L.L.C., a California limited liability company, is

headquartered at 2211 Sanders Road, Northbrook, Illinois 60062-6128. Caremark, L.L.C.

offers pharmacy benefit management services to various health insurance entities.

Caremark, L.L.C. is a wholly owned subsidiary of CVS Health Corporation.

      20.    Defendant Caremark Rx, L.L.C., a Delaware limited liability company, is

headquartered at 211 Commerce Street, Nashville, Tennessee 37201. Caremark Rx,

L.L.C. provides pharmacy benefit management services. Caremark Rx, L.L.C. is a

wholly owned subsidiary of CVS Health Corporation. Caremark Rx, L.L.C. is the parent

of Defendant CVS Health Corporation’s pharmacy services subsidiaries and is the

immediate or indirect parent of many pharmacy benefit management subsidiaries,

including Defendant CaremarkPCS Health, L.L.C.

      21.    Defendant CaremarkPCS Health, L.L.C. and Caremark L.L.C. are agents

and/or alter egos of Defendant Caremark Rx, L.L.C., and Defendant Caremark Rx,

L.L.C. is an agent and/or alter ego of Defendant CVS Health Corporation. For example,

Jonathan C. Roberts, CEO of Caremark Rx, L.L.C., is Executive Vice President and

                                          9
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 10 of 105




Chief Operating Officer of CVS Health Corporation. Thomas S. Moffatt, Secretary of

Caremark Rx, L.L.C. and Caremark, L.L.C., is a Vice President, Assistant Secretary, and

Assistant General Counsel at CVS Health Corporation. Anne E. Klis, CEO of Caremark,

L.L.C., is Vice President of Professional Practice and Training at CVS Health

Corporation. Daniel P. Davison, CEO of CaremarkPCS Health, L.L.C., is Senior Vice

President of Finance at CVS Health Corporation. Melanie K. Luker, Assistant Secretary

of CaremarkPCS Health, L.L.C., is Manager of Corporate Services at CVS Health

Corporation.

       22.     For purposes of clarity, Plaintiff herein collectively refers to CVS Health

Corporation, CaremarkPCS Health, L.L.C., Caremark L.L.C., and Caremark Rx L.L.C. as

“CVS Caremark.”

       23.     Defendant Express Scripts Holding Company is a full-service pharmacy

benefit management and specialty managed care company headquartered at One Express

Way, St. Louis, Missouri, 63121 and incorporated in Delaware. Express Scripts Holding

Company provides pharmacy benefit management services through its wholly-owned

subsidiaries to various health insurance entities on behalf of 83 million plan participants.

In its 2016 Annual Report, Express Scripts Holding Company repeatedly referred to itself

as a PBM, stating that it is “the largest stand-alone pharmacy benefit management []

company in the United States” and that it “provides integrated pharmacy benefit

management services.” In its 2016 Annual Report, Express Scripts Holding Company

further stated that one of its two business segments is the PBM segment and that 96.2%

of its 2016 revenues were derived from its PBM operations.

                                            10
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 11 of 105




       24.    Defendant Express Scripts, Inc. is a pharmacy benefit manager

headquartered at One Express Way, St. Louis, Missouri 63121 and incorporated in

Delaware. Express Scripts, Inc. is a subsidiary of Express Scripts Holding Company.

Express Scripts, Inc. provides pharmacy benefit management services to various health

insurance entities.

       25.    Defendant Medco Health Solutions, Inc. is a pharmacy benefit manager

headquartered at 100 Parsons Pond Road, Franklin Lakes, New Jersey 07417 and

organized under Delaware law. Medco Health Solutions, Inc. is a subsidiary of Express

Scripts Holding Company. Medco Health Solutions, Inc. provides pharmacy benefit

management services to various health insurance entities.

       26.    Medco Health Solutions, Inc. and Express Scripts, Inc. are agents and/or

alter egos of Express Scripts Holding Company. For example, David Queller, President

of both Express Scripts, Inc. and Medco Health Solutions, Inc., is also Senior Vice

President of Sales & Account Management at Express Scripts Holding Company.

Christine Houston, a Vice President at both Express Scripts, Inc. and Medco Health

Solutions, Inc., is also Executive Vice President and Chief Operations Officer at Express

Scripts Holding Company. John Mimlitz, a Vice President at both Express Scripts, Inc.

and Medco Health Solutions, Inc., is also Vice President of Tax at Express Scripts

Holding Company. Timothy Smith, a Vice President and Treasurer of both Express

Scripts, Inc. and Medco Health Solutions, Inc., is also Corporate Treasurer and Vice

President of Finance and Indirect Procurement at Express Scripts Holding Company. Rod

Fahs, the Assistant Secretary of both Express Scripts, Inc. and Medco Health Solutions,

                                           11
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 12 of 105




Inc., is also Assistant General Counsel at Express Scripts Holding Company. Christopher

McGinnis was a Vice President at Express Scripts, Inc., and also a Vice President and

Chief Accounting Officer of Express Scripts Holding Company. Martin Akins, the only

member of the Board of Directors of Express Scripts, Inc. and the only member of the

Board of Directors of Medco Health Solutions, Inc., and Secretary of both Express

Scripts, Inc. and Medco Health Solutions, Inc., is also Senior Vice President, General

Counsel, and Corporate Secretary of Express Scripts Holding Company. All of the

officers of Medco Health Solutions, Inc. are also officers of Express Scripts, Inc.

       27.    For purposes of clarity, Plaintiff herein collectively refers to Express

Scripts Holding Company, Express Scripts, Inc., and Medco Health Solutions, Inc. as

“Express Scripts.”

       28.    Defendant UnitedHealth Group Incorporated is headquartered at 9900 Bren

Road East, Minnetonka, Minnesota and incorporated in Delaware. UnitedHealth Group

Incorporated has two main divisions: UnitedHealthcare, which provides health benefits,

and Optum, which provides health services, including pharmacy benefit management

services. According to its 2016 Annual Report, “UnitedHealthcare utilizes Optum’s

capabilities to help coordinate patient care, improve affordability of medical care, analyze

cost trends, manage pharmacy benefits, work with care providers more effectively and

create a simpler consumer experience.” The 2016 Annual Report further states,

“OptumRx provides a full spectrum of pharmacy care services to more than 65 million

people in the United States through its network of more than 67,000 retail pharmacies

and multiple home delivery facilities throughout the country.” In 2016, approximately

                                             12
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 13 of 105




one-third of the overall revenues of UnitedHealth Group Incorporated came from

OptumRx, Inc., and OptumRx, Inc.’s revenues almost doubled between 2014 and 2016,

from $32 billion to $60 billion.

       29.    Defendant United Healthcare Services, Inc. is headquartered at 9700 Health

Care Lane, Minnetonka, Minnesota and incorporated in Minnesota. UnitedHealthcare

Services, Inc. is a subsidiary of UnitedHealth Group Incorporated and provides pharmacy

benefit management services through its subsidiaries to various health insurance entities.

According to Exhibit 21.1 to UnitedHealth Group Incorporated’s 2016 Securities and

Exchange Commission Form 10-K, UnitedHealthcare Services, Inc. also does business as

Optum, Inc.

       30.    Defendant Optum, Inc. is a PBM headquartered at 11000 Optum Circle,

Eden Prairie, Minnesota and incorporated in Delaware. Optum, Inc. is a subsidiary of

UnitedHealthcare Services, Inc., which provides pharmacy benefit management services

through its subsidiaries to various health insurance entities on behalf of more than 65

million plan participants.

       31.    Defendant OptumRx Holdings, LLC, a Delaware limited liability

corporation, is headquartered at 2300 Main Street, Irvine, California. OptumRx Holdings,

LLC is a PBM and a subsidiary of Optum, Inc. OptumRx Holdings, LLC provides

pharmacy benefit management services through its subsidiaries to various health

insurance entities.

       32.    Defendant OptumRx, Inc. is a PBM headquartered at 2300 Main Street,

Irvine, California and incorporated in California. OptumRx, Inc. is a subsidiary of

                                           13
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 14 of 105




OptumRx Holdings, LLC. OptumRx, Inc. changed its name from Prescription Solutions,

Inc. to OptumRx, Inc. in 2012. OptumRx, Inc. provides pharmacy benefit management

services to various health insurance entities.

       33.    Optum, Inc., OptumRx Holdings, LLC, and OptumRx, Inc. are agents

and/or alter egos of United Healthcare Services, Inc. United Healthcare Services, Inc.,

Optum, Inc., OptumRx Holdings, LLC, and OptumRx, Inc. are agents and/or alter egos of

UnitedHealth Group Incorporated. OptumRx Holdings, LLC and OptumRx, Inc. are

agents and/or alter egos of Optum, Inc. OptumRx, Inc. is an agent and/or alter ego of

OptumRx Holdings, LLC. For example, Larry Renfro, CEO of Optum, Inc., is Vice

Chairman, Office of the Chief Executive, at UnitedHealth Group Incorporated. Tom

Roos, Senior Vice President and Chief Accounting Officer of UnitedHealth Group

Incorporated, is Chief Financial Officer of UnitedHealthcare Services, Inc. Timothy Alan

Wicks, Chief Financial Officer and Executive Vice President of Optum, Inc. is also a

director of OptumRx, Inc.

       34.    For purposes of clarity, Plaintiff herein collectively refers to United Health

Group Incorporated, United Healthcare Services, Inc., Optum, Inc., OptumRx Holdings,

LLC, and OptumRx, Inc. as “OptumRx.”

       35.    The wrongful acts alleged to have been done by Mylan, CVS Caremark,

Express Scripts, and OptumRx were authorized, ordered, or done by their directors,

officers, managers, agents, employees, or representatives while actively engaged in the

management, direction, or control of their respective affairs.



                                             14
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 15 of 105




                          III.   JURISDICTION AND VENUE

       36.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because the Plaintiff’s claims arise under federal law and this action alleges violations of

the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961, et seq. and

Section 2 of the Sherman Act, 15 U.S.C. § 2, which are made privately actionable under

and under 18 U.S.C. § 1964(c) and 15 U.S.C. § 15(a), respectively.

       37.    Venue is proper in this judicial District pursuant to 28 U.S.C. § 1391(b) and

(c) and 18 U.S.C. § 1965, because each Defendant transacts business in, is found in,

and/or has agents in the District of Minnesota, and because some of the actions giving

rise to this complaint took place within this District.

       38.    The Court has personal jurisdiction over each Defendant. Each Defendant

has transacted business, maintained substantial contacts, and/or committed overt acts in

furtherance of the illegal scheme and conspiracy throughout the United States, including

in this District. The scheme and conspiracy have been directed at, and have had the

intended effect of, causing injury to persons residing in, located in, or doing business

throughout the United States, including in this District.

                           IV.     FACTUAL ALLEGATIONS

A.     Epinephrine Auto-Injector Products

       39.    Anaphylaxis is a serious, life-threatening allergic reaction. It can occur in

anyone at any time, and is often caused by exposure to allergens, including insect stings,

certain foods (such as peanuts), pets or animals, medications, or other allergens. Studies

have estimated that up to 5.1% of the U.S. population has a “probable” history of


                                              15
      CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 16 of 105




anaphylaxis.2 Mylan has stated that 43 million people in the U.S. are at risk for life-

threatening allergic reactions due to allergic sensitivities, and estimated that anaphylaxis

was causing 1,500 deaths annually.3 According to Mylan, “1 in 13 children [are] affected

by food allergies.” 4

       40.    Epinephrine is the recognized front-line treatment for anaphylaxis. An EAI

is used to self-deliver a controlled dosage of epinephrine during a life-threatening allergic

reaction involving anaphylaxis.     An EAI allows a person known to be at-risk for

anaphylaxis to have a portable epinephrine injector present at all times in the case of

anaphylaxis due to, for instance, insect, food, or animal exposure. Patients known to be

at risk for anaphylaxis are recommended to always carry an EAI and to be trained in its

use. EAI can also be administered by first responders or caregivers (such as parents)

when a patient goes into anaphylaxis.

       41.    The auto-injector device was first developed by Survival Technology, Inc.

in the 1970s to administer a nerve agent antidote for the United States military.5 It was



  2Robert A. Wood, MD, et al., Anaphylaxis in America: The Prevalence and
Characteristics of Anaphylaxis in the United States, 133 J. Allergy & Clinical
Immunology 461 (2014).
  3 See Reviewing The Rising Price Of Epipens: Hearing Before the H. Comm. on
Oversight & Gov’t Reform, 104th Cong. 114-124 (Sept. 21, 2016) (Statement of Heather
Bresch, CEO, Mylan), at 17.
  4 Letter from Mylan to Senator Charles E. Grassley (Sept. 8, 2016), at 2, available at
https://www.grassley.senate.gov/sites/default/files/constituents/Mylan%20Respons
e%20to%20Sen%20Grassley%209%208%2016%20(002).pdf.
  5 Matt Reimann, The Story of the EpiPen: From Military Technology to Drug-Industry
Cash Cow, TIMELINE (Aug. 20, 2016), available at https://timeline.com/epipen-
technology-drug-industryb28d19036dee#seg6n7dls.

                                             16
      CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 17 of 105




subsequently modified to deliver epinephrine — thus creating the EpiPen product which

was approved by the FDA in December 22, 1987, under NDA No. 019430.6 The EpiPen

provides a 0.3 mg dose of epinephrine, while the EpiPen Jr. contains a 0.15 mg dose.

After a series of mergers and corporate transactions, Mylan ultimately acquired the right

to market and distribute the EpiPen line of EAI devices in 2007. 7

        42.   Mylan has continuously dominated the EAI market since buying EpiPen in

2007. Indeed, in December 2012, Mylan touted that EpiPen “has been the number one

prescribed epinephrine auto-injector for more than 20 years and constitutes more than

99% of the epinephrine auto-injector market.” 8 However, in or about January 2013,

EpiPen began to face significant new competition from two products: (a) Auvi-Q, a

competing, bioequivalent, branded EAI device sold by Sanofi; and (b) Adrenaclick which

was sold by Impax as a generic product at prices that were much lower than EpiPen.

Auvi-Q’s and Adrenaclick’s presence on the market should have placed price-

disciplining pressures on Mylan, but as alleged below Mylan was able to use bribes and

kickbacks — rather than price reductions — to maintain favorable (if not exclusive)

formulary status for EpiPen. As a result, Mylan’s use of bribes and kickbacks for

favorable formulary status has reduced (if not eliminated) any pressures on it to lower its

  6 Lydia Ramsey, The strange history of the EpiPen, the device developed by the
military that turned into a billion-dollar business and now faces generic competition
between Mylan and Teva, BUSINESS INSIDER (Aug. 17, 2018), available at
https://www.businessinsider.com/the-history-of-the-epipen-and-epinephrine-2016-8.
  7   Id.; MERIDIAN MEDICAL TECHNOLOGIES INC., Form 10-K (Jul. 31, 1997), at 6.
  8 Mylan Specialty Press Release, “Mylan Specialty Offers Tips for Parents of Children
with Life-Threatening Allergies to Help Prepare for Seasonal Celebrations” (Dec. 18,
2012), http://newsroom.mylan.com/pressreleases?item=123064.

                                            17
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 18 of 105




prices and/or curb its price increases. The result has been rampant, unchecked price

increases for EpiPen products that are the direct result of Mylan’s bribery and kickback

scheme, and which direct purchasers like Plaintiff have paid to Mylan in the form of

overcharges.

B.       The Prescription Drug Selection And Distribution System

               1. The Prescription Drug Distribution Chain

         43.      Pharmaceutical companies develop, manufacture, market, and sell

prescription drugs.       At the beginning of the prescription drug distribution chain,

pharmaceutical companies sell prescription drugs to drug wholesalers (such as Plaintiff),

which then re-sell the drug products to a pharmacy or other drug dispensary, who then

dispense the drug to the patient. The drug is ultimately paid for by: (a) the patient (if it is

a cash patient lacking insurance), (b) a third-party payor (such as a commercial or

government insurer or health plan if they cover the drug cost); or (c) a combination of the

patient and health plan, if the patient’s health plan requires some type of co-payment.

         44.      Wholesalers pay directly to Mylan the published list price for EpiPens,

which is frequently called the Wholesale Acquisition Cost (“WAC”).                 The direct

purchaser may obtain a small percentage discount off of WAC for paying its invoice

early.

         45.      Average Wholesale Price (“AWP”) is an “index” price that is a calculated

derivative of WAC, and is used by PBMs to determine pharmacy reimbursements for

sales to insured patients. It is typically set as WAC plus 20%.

         46.      The price that patients pay for drugs like EpiPens at the pharmacy counter

                                               18
      CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 19 of 105




varies based on whether they have insurance and the nature of their coverage. According

to a September 8, 2016 Mylan letter to Senator Charles Grassley, at least 85% of EpiPen

patients are covered by either a government or private (commercial) insurer or health

plan. EpiPen patients who are uninsured pay the “cash” price, which is a price that has

been marked-up from the pharmacist’s purchase or acquisition cost.9 For the 85% (or

more) of patients whose EpiPen purchases are covered by an insurer or health plan,

which specific products are covered (and the scope of that coverage) is governed by the

insurer and health plans’ formulary decisions.

       47.    Formularies are lists that define which drugs are covered by an insurer or

health plan, and the scope or restrictions for such coverage. Most formularies have

multiple tiers of coverage. The formulary tier in which a drug is placed impacts whether

a drug is covered, and what co-pay amounts the patient will be required to pay at the

pharmacy counter. Branded drugs that are covered by a health plan or insurer are

typically covered in Tier 2 or higher.       In addition, formularies may also impose

restrictions or limitations on drug coverage, which provide that a drug is only covered

under certain conditions. This has the effect of completely eliminating a health plan’s

coverage of a drug under certain conditions, and requiring the patient to pay the full cash
  9 Patients who have insurance coverage under a plan that imposes a “deductible” will
pay the cash price for each prescription until they meet the deductible amount under their
insurance or health plan, at which point the insurer or health plan pays for some or all of
the remaining covered purchases over the course of the year. Finally, separate and aside
from deductibles, patients often have “coinsurance obligations,” pursuant to which the
health plan or insurer will pay for the majority of the prescription cost, but the patients
are required to pay part of the price referred to as the “co-pay” amount. Patients pay
either a fixed percentage of the drug’s cost, or a set dollar amount depending on the
drug’s formulary placement and whether the drug is preferred or not.

                                            19
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 20 of 105




cost of the drug if certain conditions or restrictions are not met.

       48.    A health plan or insurer’s cost for a prescription is impacted by various

factors. If an insurer covers a drug, then it will directly or indirectly reimburse the

pharmacist for a patient’s prescription based on an “ingredient cost” plus a dispensing

fee. For patients in “coinsurance” plans, the reimbursement amount that the health plan

pays the pharmacist will be offset or reduced by the co-pay amount that the patient pays

directly to the pharmacist.     The health plan or insurer’s final or “net” costs for a

prescription may be reduced by rebates from drug manufacturers that the health plan

negotiated directly with the manufacturer or which were negotiated by a PBM (to the

extent the PBM actually passes the rebates down to the health plan).

       49.    No matter the size of the rebate, if everything else stays the same, a health

plan or insurer will always benefit from a drop in list price, and conversely, be worse off

from an increase in list prices, regardless of the fact that the price changes may be

partially offset by the rebates. For example, if a health plan receives a 50% rebate on a

drug with a $200 list price, the health plan’s net price is $100. If the price increases $100

to $300 (and the 50% rebate stays the same) then the health plan’s net price rises $50 to

$150 ($300 minus a $150 rebate). Consequently, putting aside medical differences

between products, it is always in a health plan’s financial interest to curb drug prices by

trying to drive patients to lower-priced equivalent drugs and/or discouraging drug makers

from raising prices. The same is true for cash patients, patients in high-deductible plans,

and patients whose co-pay is set as a percentage of the drug’s list price.



                                              20
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 21 of 105




              2. PBM Role In the Drug Selection and Dispensing Process

        50.      With the exception of their mail-order pharmacy business, PBMs are not

buyers of drugs. PBMs operate as middlemen who are hired by various types of insurers

and health plans to design, manage, and administer prescription drug benefit programs.

The PBMs’ functions frequently include: (a) negotiating rebates on the health

plan/insurers’ drug purchases with drug manufacturers, (b) designing and revising the

health plan/insurers’ benefit rules (such as copay levels, deductibles, and formulary

specifics) and determining coverage eligibility and copayments, and (c) designing,

developing and managing formularies and formulary compliance programs. 10

        51.      Regardless of the nominal control that some insurers and health plans may

formally retain over these functions, in reality many (if not most) of the insurers and

health plans have delegated to PBMs the day-to-day control over these functions.

                 a)    PBM Role In Negotiating Rebates With Manufacturers

        52.      PBMs became a major force in the late 1980s, expanding from pharmacy

claims processing to a business model that forced drug manufacturers to engage in price

negotiation in several drug categories. PBMs typically selected one brand among several

brand drugs in a therapeutic class as the “preferred” choice, and negotiated payments

from that manufacturer called “rebates.” So long as those rebates were passed back to the

health plan, that approach could lower the net cost of that brand to health plans. 11


  10 Robert F. Atlas, “The Role of PBMs In Implementing The Medicare Prescription
Drug Benefit,” Medicare Drug Benefit (Oct. 28, 2004), at W4-505-506, available at
https://www.healthaffairs.org/doi/pdf/10.1377/hlthaff.W4.504
  11   Health Affairs, “Prescription Drug Pricing: Pharmacy Benefit Managers,” Health
                                             21
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 22 of 105




         53.   PBMs gained even more prominence — and recognition from the federal

government — in 2003 with the passage of the Medicare Modernization Act (MMA).

This law implemented the Medicare Part D outpatient drug benefit using plans that

competed for customers based on their advertised ability to negotiate favorable drug

prices, create formularies, and hold down premiums. PBMs generally represent the Part

D plans in these negotiations. 12

         54.   PBMs’ effectiveness as negotiators with pharmaceutical manufacturers

grew as PBMs grew in size and covered lives they represented in negotiations. The more

covered lives (insured patients) represented by a PBM, the more likely that manufacturers

will offer rebates in return for preferred formulary coverage, which in turn would cause

increased sales of the manufacturer’s drug. According to the PBMs’ trade association —

the Pharmaceutical Care Management Association (“PCMA”) — as of January 2019,

PBMs administered prescription drug benefits for more than 266 million Americans.13 In

2018, the top six PBMs handled more than 95% of total U.S. prescription claims. 14


Policy Brief Series (Sept. 2017) at p. 1
  12   Id.
  13 PCMA, “Increased Competition Key to Reducing Prescription Drug Costs” (Jan. 28,
2019), available at https://www.pcmanet.org/pcma-offers-policy-solutions-to-reduce-
prescription-drug-costs/.
  14  “CVS, Express Scripts, and the Evolution of the PBM Business Model,” Drug
Channels (May 29, 2019), available at https://www.drugchannels.net/2019/05/cvs-
express-scripts-and-evolution-of.html. CVS Health Corporation, through its Pharmacy
Services Segment, provides pharmacy benefit management services to various health
insurance entities on behalf of nearly 90 million health plan participants, including plan
design and administration, formulary management. Express Scripts Holding Company is
a full-service PBM and specialty managed care company which provides pharmacy
benefit management services through its wholly-owned subsidiaries to various health
                                            22
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 23 of 105




        55.      Because increased size gives an individual PBM increased negotiating

leverage there has been dramatic consolidation in the PBM industry during the past

decade.       In 2012, when the Federal Trade Commission approved Express Scripts’s

acquisition of Medco, the agency found there were “at least ten significant competitors”

in the PBM segment. 15 However, by 2014, the top three PBMs (the Defendant PBMs)

managed over 180 million lives — about 80 percent of the total number of patients

covered by PBMs, evidencing recent consolidation.16 According to a May 2019 industry

article,17 at the end of 2018, the Defendant PBMs continued to control over 75% of the

covered lives:




insurance entities on behalf of 83 million plan participants. In its 2016 Annual Report,
Express Scripts Holding Company repeatedly referred to itself as “the largest stand-alone
[PBM] company in the United States” and that it “provides integrated pharmacy benefit
management services.” Medco Health Solutions, Inc. is a subsidiary of Express Scripts
Holding Company. Optum, Inc. provides pharmacy benefit management services
through its subsidiaries to various health insurance entities on behalf of more than 65
million plan participants. Prime Therapeutics, LLC is owned by fourteen Blue Cross and
Blue Shield health insurance entities. Prime provides pharmacy benefit management
services to those fourteen Blue Cross and Blue Shield health insurance entities on behalf
of more than 20 million health plan participants.
  15 Statement of the Federal Trade Commission Concerning the Proposed Acquisition
of Medco Health Solutions by Express Scripts, Inc., FTC File No. 111-0210 (Apr. 2,
2012), at 2, available at https://www.ftc.gov/sites/default/files/documents/
public statements/statement-federal-trade-commission-concerning-proposed-acquisition-
medco-health-solutions-express./120402expressscripts.pdf.
  16 Health Affairs, “Prescription Drug Pricing: Pharmacy Benefit Managers,” Health
Policy Brief Series (Sept. 2017) at p. 2.
  17“CVS, Express Scripts, and the Evolution of the PBM Business Model,” Drug
Channels (May 29, 2019), available at https://www.drugchannels.net/2019/05/cvs-
express-scripts-and-evolution-of.html

                                           23
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 24 of 105




         56.   In contrast, the market for health plans and insurers is much less

concentrated, with the 25 largest companies accounting for less than two-thirds of the

business in 2014.18 For brand name drug manufacturers, 13 companies account for 90%

of the U.S. market.19 Thus, it is typical to have a large PBM negotiating with several

drug manufacturers on behalf of a large number of relatively small health plans.

         57.   One of the key functions that PBMs perform for their clients is to negotiate

rebates with drug manufacturers. However, rather than negotiating separate agreements

  18 Evi Heilbrunn, “Top Health Insurance Companies,” U.S. NEWS & WORLD REPORT
(Nov. 5, 2014), available at https://health.usnews.com/health-news/health-
insurance/articles/2013/12/16/top-health-insurance-companies; Charles Roehrig, “The
Impact of Prescription Drug Rebates on Health Plans and Consumers”, Altarum (Apr.
2018) at p. 8 available at https://altarum.org/publications/impact-prescription-drug-
rebates-health-plans-and-consumers
  19   Id.

                                            24
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 25 of 105




with drug manufacturers separately and individually for each of their health plan and

insurer clients, PBMs typically use their combined clout to negotiate a master agreement

on behalf of all their clients. As a result, in the world of drug price negotiation, market

power is most highly concentrated among PBMs, and in particular the Defendant PBMs,

who have more negotiating leverage than any individual drug manufacturer or health plan

on either side of a transaction.

       58.    Because the Defendant PBMs can negotiate better rebate deals than health

plans/insurers can get on their own, they are in a strong position when negotiating

contract terms and conditions with the health plans/insurers they represent. While a PBM

is nominally “hired by” and “working for” a particular health plan, the Defendant PBMs

are actually in the driver’s seat. While health plans/insurers may technically have the

right to independently control rebate negotiations, they have delegated that power to the

Defendant PBMs to exercise during the course of their relationship.

       59.    For example, Express Scripts’s standard, uniform contract provides that it

be given full and complete control to negotiate with drug makers for the insurer/health

plan client, that the client will forego any right to directly negotiate with drug makers,

and if the client does negotiate on its own then the PBM may terminate the relationship or

the client may have to forego all rebates:

              Sponsor acknowledges that it may be eligible for Rebate amounts
              under this Agreement only so long as Sponsor, its affiliates, or its
              agents do not contract directly or indirectly with anyone else for
              discounts, utilization limits, rebates or other financial incentives on
              pharmaceutical products or formulary programs for claims processed
              by ESI pursuant to the Agreement, without the prior written consent
              of ESI. . . . To the extent Sponsor knowingly negotiates and/or

                                             25
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 26 of 105




              contracts for discounts or rebates on claims for Covered Drugs
              without prior written approval of ESI, such activity will be deemed
              to be a material breach of this Agreement, entitling ESI to suspend
              payment of Rebate amounts hereunder and to renegotiate the terms
              and conditions of this Agreement. 20

Thus, Express Scripts will work for an insurer/health plan only so long as the

sponsor/payor agrees to: (a) abstain from using its right to negotiate rebates for its

purchases without Express Scripts’s written permission; and (b) give Express Scripts de

facto control over rebate negotiations.

        60.   Similarly, as discussed above, Defendant PBMs generally represent the

private plans who handle the outpatient drug benefits for Medicare Part D patients

pursuant to the 2003 MMA. The MMA contains a noninterference provision, section

1860D-11(i) (42 U.S.C. § 1395w-111(i)), which restricts direct government involvement

in Part D price negotiations. 21 This is further reflection and demonstration of the

Defendant PBMs’ exclusive control over price negotiations for their clients.

              b)     PBM Role In Designing Formularies

        61.   Formularies are a central tool that payors use in designating, managing and

publicly identifying the extent of the coverage and benefits they provide to their

members. Because formulary coverage impacts how much a patient pays for a drug,

formularies can be used to steer patients toward certain drugs over others, and that is one

  20 Sample Form of PBM Agreement with Express Scripts, Inc., Genessee County
(Flint, Michigan) Purchasing Department (February 27, 2015), available at
http://nationalprescriptioncoveragecoalition.com/wp-
content/uploads/2017/07/WebPage.pdf
  21 Health Affairs, “Prescription Drug Pricing: Pharmacy Benefit Managers,” Health
Policy Brief Series (Sept. 2017) at p. 2.

                                            26
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 27 of 105




of the key purposes and functions of formulary design, implementation and management.

        62.   While some PBM clients have formal, nominal control over the structure of

the formularies they implement, they usually retain the PBMs to administer the

formularies and give the PBM contractual authority to make day-to-day changes, unless

the health plan takes the affirmative step of electing not to implement any such change.

Such is the case with the Defendant PBMs. For example, the Express Scripts contract

template provides that:

              “Formulary” means the list of FDA-approved prescription drugs and
              supplies developed by ESI’s Pharmacy and Therapeutics Committee
              and/or customized by Sponsor, and which is selected and/or adopted
              by Sponsor. The drugs and supplies included on the Formulary will
              be modified by ESI from time to time as a result of factors,
              including, but not limited to, medical appropriateness, manufacturer
              Rebate arrangements, and patent expirations. Additions and/or
              deletions to the Formulary are hereby adopted by Sponsor, subject to
              Sponsor’s discretion to elect not to implement any such addition or
              deletion through the Set-Up Form process, which such election shall
              be considered a Sponsor change to the Formulary. 22

        63.   Most health plan and insurer clients rely upon a Defendant PBM’s

formulary recommendations. Indeed, the Express Scripts contract template provides that

Express Scripts’s additions and/or deletions to the formulary are automatically assumed

to be adopted by the health plan sponsor, unless the sponsor takes the affirmative step of

electing not to implement any such addition or deletion through the set-up form process.

A well-known pharmacy-benefits consultant, David Dross, noted during a presentation


  22 Sample Form of PBM Agreement with Express Scripts, Inc., Genessee County
(Flint, Michigan) Purchasing Department (February 27, 2015), available at
http://nationalprescriptioncoveragecoalition.com/wp-content/uploads/2017/07/
WebPage.pdf

                                           27
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 28 of 105




that health plans “don’t have clinicians on staff, they don’t even question their PBM’s

formulary, much less design their own.” 23 The PCMA — the PBM trade association —

has testified to the Pennsylvania House of Representatives that even sophisticated

insurers and health plans rely on PBMs to manage their drug benefit.24 The Defendant

PBMs’ contractual authority to make changes to the formulary list, combined with many

clients’ reliance on the Defendant PBMs’ formulary recommendations and decisions,

gives the Defendant PBMs substantial day-to-day control in managing their clients’

formularies.

        64. The Defendant PBMs’ control over formulary decisions is related to (and a

necessary predicate of) their ability to negotiate manufacturer rebates, because

manufacturers pay rebates based on the Defendant PBMs’ ability to deliver formulary

placement for their drugs. Because favorable formulary status is likely to increase (or at

least maintain) a drug’s usage and sales, and formulary exclusion (or a downgrade in

formulary position) is likely to reduce a drug’s usage and sales, manufacturer rebates are

often (if not always) conditioned on a drug’s formulary coverage. Thus, the amount of

the rebates that a drug manufacturer will pay will be impacted by a PBM’s ability to

deliver formulary status that will increase drug sales.      As Cottingham & Butler (a

national insurance broker) noted in a client presentation, PBMs have “unilateral control . .


  23“Employers Should ‘Ask the Hard Questions’ About PBM Formularies,” HEALTH
BUSINESS DAILY (Dec. 19, 2014), available at https://www.coleridgelaw.com/archive/
nhpw120814-03.
  24Letter from PCMA to the Matthew E. Barker, Pennsylvania House of
Representatives, House Comm. On Health (Aug. 28, 2013).

                                            28
        CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 29 of 105




. over formularies and tiering — driving greater profits for PBMs through rebates[.]” 25

          65. In the past, PBMs generally devised and managed what are known as “open”

formularies: formularies that offer varying degrees of plan coverage and benefits for

virtually all available FDA-approved drugs. Consequently, with open formularies, drug

companies compete to have their drugs placed by PBMs into the most favorable

formulary tier possible.      Like open formularies, “closed” formularies provide tiered

benefits, but unlike open formularies, they restrict the overall number of drugs that are

entitled to receive any plan prescription drug benefit. In the 2010s, PBMs, including the

Defendant PBMs, started shifting to making “closed” formularies the default choice.26

For example, while health plans traditionally had to opt into closed formularies, in 2014,

Express Scripts’s national formulary was a closed formulary, and clients had to

affirmatively opt-out of it. 27

          66.   Over the last several years, the Defendant PBMs have published annual

lists of drug exclusions. PBMs’ exclusion lists are closely analyzed by industry experts

who understand that, through these lists, PBMs have the ability to drive health and

insurance plan participants and beneficiaries to (or away from) specific drugs. 28 For


   25Nancy Daas, Prescription Drug Plan Strategies, Cottingham & Butler (2017),
http://www.cottinghambutler.com/wp-content/uploads/2017/03/Prescription-Drug-
Strategies.pdf.
   26Thomas Reinke, PBMs Just Say No to Some Drugs — But Not to Others, Managed
Care Mag. (Apr. 5, 2015), https://www.managedcaremag.com/archives/2015/4/pbms-
just-say-no-some-drugs-not-others.
   27   Id.
   28
    See, e.g., Kevin McCaffrey, PBMs Unveil 2017 Formularies, Retain Focus on
Exclusions, MM&M (Aug. 2, 2016), https://www.mmm-online.com/payersmanaged-
                                             29
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 30 of 105




example, in an August 2, 2016 article about CVS Caremark’s and Express Scripts’s 2017

formulary exclusions, Barrons stated:

               Make way for some waves. CVS Health (CVS) and Express Scripts
               (ESRX) have released their formulary exclusion list for 2017, which
               details which prescription drugs will not be covered by health plans.

               Why do we care?...The coverage list determines whether millions of
               privately insured individuals can easily use an insurance co-payment
               to buy their prescriptions. If a drug is excluded, it can dramatically
               hobble sales.

               Thus, the formulary exclusion lists can be used as a tool by insurers
               and PBMs — leverage you might say — to negotiate with drug
               makers for better prices [for PBMs and plans]. 29

        67.    Formulary placement (and potential exclusion) is a major factor in the

Defendant PBMs’ negotiations with drug companies like Mylan for rebates and other

types of payments. The PCMA (the PBM trade association) states that “[i]n classes

where several products may be considered therapeutically equivalent, PBMs can

negotiate with drug manufacturers for higher rebates[.]” 30       In April 2015, Express



markets/pbms-unveil-2017-formularies-retain-focus-on-exclusions/article/513737/; Mark
Lowery, 2016 Formulary Exclusions in 9 Key Areas, Drug Topics: Voice of the
Pharmacist (Aug. 11, 2015), http://drugtopics.modernmedicine.com/drug-
topics/news/2016-formulary-exclusions-9-key-areas; Bruce Japsen, PBMs Quietly Gain
Leverage As Drug Makers Stumble On Price Hikes, Forbes (Aug. 31, 2016),
https://www.forbes.com/sites/brucejapsen/2016/08/31/pbms-quietly-gain-leverage-as-
drug-makers-stumble-on-price-hikes/#554d1a3f7ffa.
  29 Johanna Bennett, CVS Health Takes “An Audacious Step” With 2017 Drug
Formularies, Barron’s (Aug. 2, 2016), https://www.barrons.com/articles/cvs-health-
takes-an-audacious-step-with-2017-drug-formularies-1470169569; see also Excluded in
2016: These Drugs Are On the Outside Looking In, Managed Care Mag. (Sept. 10, 2015),
https://www.managedcaremag.com/archives/2015/9/excluded-2016-these-drugs-are-
outside-looking.
  30   Drug Price Negotiations & Rebates, Pharm. Care Mgmt. Ass’n,
                                             30
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 31 of 105




Scripts’s Chief Medical Officer told Managed Care Magazine that formulary exclusions

“demonstrate that PBMs [can] move market share.” 31 He further touted that drug

companies “[are] now convinced . . . that [PBMs can] actually deliver market share when

we [are] motivated to. So we went to the companies, and we told them, ‘We’re going to

be pitting you all against each other. Who is going to give us the best price? If you give

us the best price, we will move the market share to you. We will move it effectively.

We’ll exclude the other products.’” 32

         68.   Similarly, a February 16, 2018 article in STAT (a well-known publication

focused on the life sciences and pharmaceutical industries) states that PBMs —

particularly the Defendant PBMs — “[a]s the industry’s heavyweights . . . now have

enormous power over the availability and pricing of essential medicines. Drug makers

pay PBMs billions of dollars to ensure their products get preferred positions on

formularies, drug lists used to determine which medicines are covered.” 33 Industry

experts have further highlighted that the threat of formulary exclusion has yielded

substantial drug company payments to PBMs.          In a presentation, Arthur Shinn of

Pharmacy Consultants, LLC stated that “[t]he exclusion strategy is a big rebate revenue



https://www.pcmanet.org/policy-issues/drug-price-negotiations-rebates/.
  31 Peter Wehrwein, A Conversation With Steve Miller, MD: Come in and Talk With
Us, Pharma, Managed Care Mag. (April 2015), https://www.managedcaremag.com/
archives/2015/4/conversation-steve-miller-md-come-and-talk-us-pharma.
  32   Id.
  33 Casey Ross, Washington Is Taking Aim at Drug Industry Middlemen. But Can It
Break Their Grip on a Captive Market?, STAT (Feb. 16, 2018),
https://www.statnews.com/2018/02/16/washington-pharmacy-benefit-managers/.

                                           31
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 32 of 105




generator.” 34

                 c)    PBM Control Over Their Own Compensation Through Rebate
                       and Administrative Fees

        69.      Defendant PBMs generally pass through only a portion of specified

“rebates” to client insurers and health plans. 35 Moreover, PBMs have written their

contracts to retain for themselves all other payments from drug manufacturers like

Mylan, including among other things discounts, “administrative or other fees,” and/or

side deals, and thus, the Defendant PBMs keep substantially more of the moneys received

from drug makers than they pass through. The result is that the Defendant PBMs profit

handsomely from rebates. 36

        70.      In addition to rebates, drug companies like Mylan often pay Defendant

PBMs substantial amounts of various “administrative fees” in exchange for, among other

things, ensuring a given drug’s formulary placement.37 As Express Scripts states in its


  34“As the Clock Ticks for Exclusion Opt-Ins, Payers Ponder Access, Disruption,
Savings,” Drug Benefit News, Vol. 15, Issue
  35 It’s Time To Determine How Much Your PBM Is Depriving Your Plan of Rebates:
File An “Accounting” Procedure, Nat’l Prescription Coverage Coalition,
http://nationalprescriptioncoveragecoalition.com/its-time-to-determine-how-much-your-
pbm-is-depriving-your-plan-of-rebates-file-an-accounting-procedure/
  36 “How to Dramatically Decrease Your MCO’s Rx Coverage Costs,” Managed Care,
April 1, 2008 https://www.managedcaremag.com/archives/2008/4/how-dramatically-
decrease-your-mco-s-rx-coverage-costs
  37 Henry C. Eickelberg, The Prescription Drug Supply Chain “Black Box” — How it
Works and Why You Should Care, Am. Health Pol’y Inst. (2015),
http://www.americanhealthpolicy.org/Content/documents/resources/December%202015_
AHPI%20Study Understanding the Pharma Black Box.pdf; see also Linda Cahn, It’s
Time To Determine How Much Your PBM Is Depriving Your Plan Of Rebates: File An
“Accounting” Procedure, Nat’l Prescription Coverage Coalition (NPCC),
http://nationalprescriptioncoveragecoalition.com/its-time-to-determine-how-much-your-
                                            32
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 33 of 105




template contract with Flint, Michigan:

              ESI provides administrative services to formulary rebate contracted
              manufacturers, which include, for example, maintenance and
              operation of the systems and other infrastructure necessary for
              managing and administering the PBM formulary rebate process and
              access to drug utilization data, as allowed by law, for purposes of
              verifying and evaluating the rebate payments and for other purposes
              related to the manufacturer’s products. ESI receives administrative
              fees from the participating manufacturers for these services. These
              administrative fees are calculated based on the price of the rebated
              drug or supplies along with the volume of utilization and do not
              exceed the greater of (i) 4.58% of the average wholesale price, or (ii)
              5.5% of the wholesale acquisition cost of the products. In its
              capacity as a PBM company, ESI also may receive service fees from
              manufacturers as compensation for the performance of various
              services, including, for example, formulary compliance initiatives,
              clinical services, therapy management services, education services,
              medical benefit management services, and the sale of non-patient
              identifiable claim information. These service fees are not part of the
              formulary rebates or associated administrative fees. 38

        71.   As industry expert, Linda Cahn observed “[i]f a PBM enters into contracts

with drug manufacturers and chooses to give rebates another name — like administrative

fees or health management fees or grants — the PBM will arguably eliminate its

obligation to pass through the financial benefits to its clients.”39 Additionally, “a PBM

can deprive its clients of rebates by ensuring the rebates are paid on the basis that is not



pbm-is-depriving-your-plan-of-rebates-file-an-accounting-procedure/.
  38 Sample Form of PBM Agreement with Express Scripts, Inc., Genessee County
(Flint, Michigan) Purchasing Department (February 27, 2015), available at
http://nationalprescriptioncoveragecoalition.com/wp-content/uploads/2017/07/
WebPage.pdf
  39 Linda Cahn, “Don’t Get Trapped By PBM’s Rebate Labeling Games” Managed
Care (Jan. 1, 2009), available at https://www.managedcaremag.com/archives/2009/
1/don-t-get-trapped-pbms-rebate-labeling-games.

                                            33
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 34 of 105




attributable to the clients’ drug purchases.” 40

         72.   PhRMA, an industry group of pharmaceutical manufacturers, has

explained:

               In addition to rebates, PBMs often require manufacturers to pay
               administrative service fees for administering, invoicing, and
               collecting rebate payments. These administrative fees are intended
               to reimburse the PBM for services provided to the manufacturer and
               are not generally passed on to the PBM’s client. 41

         73.   Altarum, a nonprofit research and consulting organization that works with

governments and private insurers to improve health outcomes for Medicare and Medicaid

beneficiaries, stated:

               The concern is that PBMs, in their role as intermediaries, have
               diverted much of the potential savings to their own bottom lines, a
               concern intensified by the lack of transparency around the
               proprietary rebate amounts. Examples include PBMs retaining more
               than their agreed upon share of rebates through re-labeling rebates as
               fees and PBMs pressuring manufacturers to increase their list prices
               with a commensurate increase in rebates. This benefits PBMs doubly
               since they are often paid a percentage of list price and also retain a
               share of rebates. 42

         74.   For example, in a February 14, 2017 letter to HHS, regarding PBM

practices, pharmaceutical company, Eli Lilly stated that:

               [There] is an emerging practice by some (but certainly not all) of
               these [PBM] entities to condition a manufacturer’s ability to bid for
               federal government business on the willingness of manufacturer to
               accept a non-negotiable suite of administrative services at a non-

  40   Id.
  41“Follow the Dollar,” PhRMA (Nov. 2017), at 8, available at http://phrma-
docs.phrma.org/files/dmfile/Follow-the-Dollar-Report.pdf (emphasis added).
  42Charles Roehrig, The Impact of Prescription Drug Rebates on Health Plans and
Consumers, Altarum (Apr. 2018), at 4.

                                              34
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 35 of 105




                negotiable rate. From Lilly’s perspective, this is in effect a “pay-to-
                play” requirement. 43

Thus, according to Eli Lilly, drug manufacturers are paying administrative fees (which do

not flow to the health plans to any significant extent) to PBMs in exchange for formulary

placement.

        75.     Administrative fees can make up a substantial portion of the total dollar

amount of drug company payments to a PBM. According to Dross, the pharmacy-

benefits consultant who has been cited in Senate testimony, administrative fees can

amount to 25-30% of total payments from drug companies like Mylan. 44 Similarly,

Express Scripts revealed in a 2017 lawsuit that it filed against one drug manufacturer that

it kept 13 times more in administrative fees than it passed back to its clients through

“rebates.” 45

        76.     That the Defendant PBMs have, in fact, retained increasing amounts of

rebates and fees for themselves is demonstrated by a March 2019 Pew Center study

which analyzed manufacturer rebate levels, health-plan drug expenditures and PBM



  43 Letter from Josh O’Harra, Assistant General Counsel for Eli Lilly, to Patrice Drew,
Office of the Inspector General, February 14, 2017, available at
https://www.regulations.gov/document?D=HHSIG-2017-0001-0002.
  44 David Dross, Will Point-of-Sale Rebates Disrupt the PBM Business?, Mercer (July
31, 2017), https://www.mercer.us/our-thinking/healthcare/will-point-of-sale-rebates-
disrupt-the-pbm-business.html.
  45 http://nationalprescriptioncoveragecoalition.com/express-scripts-lawsuit-should-
raise-everyones-eyebrows/ According to Express Scripts’s complaint, it entered into
“rebate agreements” with the drug manufacturer, which required the manufacturer to pay
Express Scripts far more in “administrative fees” than the manufacturer paid in
“formulary rebates.” The administrative fees were about 13 times the rebates.

                                              35
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 36 of 105




revenues from drug expenditures during the period 2012-2016.46 That study found that

even though manufacturers paid greater rebates during the period 2012-2016, 47 those

rebates did not actually reduce health-plan expenditures on drugs — which increased by

66% from 2012-2016.48 The report observed that as health plans were being forced to

spend more and more on drugs, PBM revenues virtually doubled because they retained

increased percentages of rebates for themselves and increasingly took their payments

from manufacturers in the form of “fees” that they did not share with their health-plan

clients.

        77.     The Pew Center report estimated that

              • in 2012, PBMs retained $11.6 billion in rebates and fees related to
                drug expenditures (which was composed of $5.7 billion in
                manufacturer rebates and $5.9 billion in manufacturer fees), which
                constituted 4.6% of total Prescription Drug spending.

              • by 2015 (3 years later), PBMs retained $18.2 billion in rebates and
                fees related to drug expenditures (which was composed of $7.8
                billion in manufacturer rebates and $10.4 billion in manufacturer
                fees), which constituted 5.6% of total Prescription Drug spending.

              • by 2016 (4 years later), PBMs retained $22.4 billion in rebates and
                fees related to drug expenditures (which was composed of $5.8
                billion in manufacturer rebates and $16.6 billion in manufacturer

  46 The Prescription Drug Landscape Explored, A look at retail pharmaceutical
spending from 2012 to 2016, March 2019 Pew Center Report, available at
https://www.pewtrusts.org/en/research-and-analysis/reports/2019/03/08/the-
prescription-drug-landscape-explored.
  47  Manufacturer rebates increased from $10.2 billion in 2012 to $29.1 billion in 2016.
Id. at 9.
  48 In 2012, $110.6 billion in commercial health plan premiums went to pay for retail
prescription drugs, and by 2016 $183.9 billion of commercial health plan premiums went
to pay for retail prescription drugs — a 66% increase in drug expenditures over a four-
year period. Id. at 8.

                                             36
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 37 of 105




                    fees), which constituted 6.6% of total Prescription Drug spending. 49




Thus, over a four-year period, while health plans and consumers were forced to spend

more on drug expenditures because of surging drug prices, PBM revenues virtually

doubled (from $11.6 billion to $22.4 billion), because PBMs were retaining more and

more manufacturer rebates, and service fees (which are not shared with health plan

clients) virtually tripled. Notably, PBM- retained rebates and fees increased not only in

total dollar terms, but also as an increasing percentage of total drug expenditures. Thus,

at a time when health plans and consumers were forced to spend more on drug

expenditures because of surging drug prices, PBMs, including Defendant PBMs, were
  49   Id. at 13.

                                                 37
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 38 of 105




increasing the percentage of drug expenditures they kept for themselves.

       78.     Thus, while Defendant PBMs pass some rebates and fees back to the plans,

they also retain a large portion of such moneys, in part through misleading labeling of the

various rebates and fees they receive from drug companies like Mylan. This lack of

transparency, and the Defendant PBMs’ central role in ensuring it, gives the PBMs

authority and discretion to label the payments that they negotiate with Mylan such that

they retain control over the amount of kickbacks they keep for themselves. Thus, the

hard bargains Defendant PBMs purport to drive for the benefit of their clients — the

plans or their participants and beneficiaries — are, in reality, for the benefit of the

Defendant PBMs themselves.

C.    Mylan Paid Bribes And Kickbacks To Defendant PBMs To Impede
      Competition And Maintain Its Ability To Charge Supra-Competitive
      Prices

             1. The Defendant PBMs Are Ripe Targets to Be Bribed to Use Their
                Formulary Control To Favor Higher-Priced Drugs

       79.     As alleged above, historically, PBMs that acted in their health-plan client’s

interests used their formulary power to favor lower-priced drugs in order to force down

drug list prices (or slow the growth of list prices). However, during the last decade the

Defendant PBMs have been bribed to eliminate the price-disciplining effects from

competition. Because so much of the rebates and fees flow into the Defendant PBMs’

coffers (rather than being paid to their clients), the Defendant PBMs benefit from higher

WAC prices because it results in higher rebate and fee payments that they keep for

themselves (even though doing so is contrary to the interests of the PBM’s health-plan


                                             38
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 39 of 105




clients).

       80.    The rebates and administrative fees that the Defendant PBMs receive for a

drug are usually calculated as a percentage of the dollar value of a drug’s usage based on

its WAC list price — such as 30% of a drug’s total unit volume purchases by the PBM’s

clients multiplied by the WAC list price per unit. The total amount of a drug’s purchases

(and thus the total amount of the rebates and fees paid to a PBM for that drug) are driven

by two factors: a drug’s list price (WAC or AWP, which is typically WAC plus 20%),

and its sales volume. For example, the total purchase amount for 1000 units of a $300

drug is $300,000, and the total purchase amount for 1000 units of a $100 drug is

$100,000. If a PBM receives a 30% rebate for both drugs, then the PBM receives

$90,000 in rebates for the $300 drug, and $30,000 for the $100 drug. In that context, it is

in the PBM’s interest to drive sales to the higher-priced $300 drug, even though that is

contrary to the financial interests of its health-plan clients who pay the higher prices but

do not receive many of the accompanying rebates and fees that are kept by the PBM.

       81.    Furthermore, the Defendant PBMs benefit from large, annual list price

increases by drug manufacturers that occur during the life of a multi-year contract for two

reasons. First, increases in a drug’s list price increase the dollar-amount of the rebate and

fee payments that the PBMs get to keep. For example, if a PBM receives a 30% rebate

on 1000-unit sales of a $300 drug, if the drug price increases by $100 per unit, then the

PBM’s rebates increase by $30,000 (from $90,000 to $120,000).

       82.    In addition, large drug price increases during a multi-year contract can

generate additional fees and rebates to PBMs in the form of “price-protection” benefits

                                             39
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 40 of 105




that Defendant PBMs do not share with their health plan clients. A recent report on the

drug industry noted that, in addition to rebates used to purchase formulary access and

market share, price/inflation protection rebates also incentivize drug manufacturers to

raise list prices and thereby compensate Defendant PBMs for formulary placement:

              At the whole-market level, we sense that the price protection rebate
              arbitrage game is driving manufacturers to higher list price increases
              than would otherwise occur[.] . . . Price protection rebates between
              brand manufacturers and PBMs are common, as are fixed rebate
              agreements between PBMs and a significant portion of their plan
              sponsors. When brand manufacturers’ [list price] increases exceed
              the price protection threshold, the manufacturers rebate the
              difference to PBMs, who pocket the difference when these price
              protection rebates grow faster than the PBMs’ fixed rebate
              commitments to plan sponsors. Thus all else equal in a given
              category, the product with the more rapid list price increases is more
              profitable to the PBM. Manufacturers, realizing this, don’t want
              their products disadvantaged, and accordingly are driven to keep
              their rates of list price inflation at least as high, and ideally just a bit
              higher, than peers’. Durable list price inflation is the natural result.50

As OptumRx’s CEO candidly admitted in an October 15, 2016 interview with Modern

Healthcare, “the largest players” in the PBM industry — the Defendant PBMs —

“actually benefit from price increases.” 51

        83.   This has created a perverse incentive for: (a) the Defendant PBMs to give

preferential formulary status to higher-priced drugs which come with higher payments to

the PBMs, even if doing so is contrary to the health plan client’s interest in favoring



  50Richard Evans, Scott Hinds, & Ryan Baum, US Rx Net Pricing Trends Thru 2Q16,
SSR LLC, 36 (Oct. 5, 2016).
  51Q&A: We Don’t Set the Price. Pharmaceutical Manufacturers Set the Price, Mod.
Healthcare (Oct. 15, 2016), http://www.modernhealthcare.com/article/20161015/
MAGAZINE/310159957.

                                              40
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 41 of 105




lower-priced drugs; and (b) for drug manufacturers such as Mylan to use high rebate and

fee payments to purchase favorable formulary status from Defendant PBMs, instead of

trying to ensure favorable formulary status by lowering list prices or limiting list price

increases.

        84.   The Defendant PBMs’ interest and benefit in favoring high-priced drugs

and large price increases (contrary to their clients’ interests) makes them ripe targets to be

bribed by brand manufacturers such as Mylan who pay kickbacks (i.e., rebates that flow

into the Defendant PBMs’ coffers and not to the health-plan clients) to gain the ability to

raise list prices without being penalized by the PBMs.       In a March 7, 2018 speech to

America’s Health Insurance Plans’ (“AHIP”) National Health Policy Conference, FDA

Commissioner Scott Gottlieb discussed how the PBMs have “misaligned incentives”

which cause them to “use their individual market power to effectively split some of the

monopoly rents with large manufacturers and other intermediaries rather than passing on

the saving garnered from competition to patients and employers.” 52 In essence, rather

than using their control over day-to-day formulary decisions to penalize manufacturers

who charge excessive prices, PBMs can be bribed with a share of excessive, supra-

competitive prices that flow into their pockets to look the other way while brand

manufacturers (such as Mylan) raise list prices.

        85.   In fact, PBMs actually work to discourage price reductions. As the drug-

makers’ trade association, PhRMA, has stated:
  52Scott Gottlieb, M.D., Capturing the Benefits of Competition for Patients (March 7,
2018), available at https://www.fda.gov/news-events/speeches-fda-officials/capturing-
benefits-competition-patients-03072018

                                             41
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 42 of 105




              Under the current system, the revenues PBMs earn on medicines
              could decline if the prices of medicines were to decrease. . . . [A]
              hypothetical manufacturer’s unilateral decision to lower list
              price could result in a PBM then taking action to significantly
              reduce formulary access for that manufacturer’s medicine.
                                              ***

              Similarly, OIG has observed that “[t]he prominence of rebate
              arrangements in the prescription drug supply chain has been cited as
              a potential barrier to lowering drug costs” and that under the current
              system, PBMs may have incentives to penalize manufacturers for
              reducing list prices, including removing medicines from the
              formulary or placing them on a less-preferred formulary tier.
              Information published by industry analysts shows that similar
              penalties may exist if manufacturers attempt to lower list prices
              without modifying their contract terms to provide a
              corresponding increase in the rebates received by the PBM. 53

Analysts have also observed that PBMs’ earnings would “take a direct hit if drug

companies began to slow down on price hikes.” 54

        86.   Indeed, Defendant PBMs have implemented policies that penalize drug

makers who lower their list prices. These policies are concrete evidence that in order to

share in the excessive, supra-competitive prices, Defendant PBMs have acted contrary to

their health plan clients’ interests, in derogation of their duty of fidelity and/or fiduciary

duty. Almost half of those surveyed by the National Pharmaceutical Council expressed

  53 Letter from PhRMA, to Daniel R. Levinson, Office of the Inspector General, April
8, 2019, at 15-16 (emphasis added) (citing Carolyn Y. Johnson, “In May, Trump
predicted the pharmaceutical industry would cut prices in two weeks. It hasn’t happened
yet.” THE WASHINGTON POST (June 26, 2018) (pharmaceutical manufacturers “argue that
PBMs that make their money off negotiating rebates may prefer a competing drug with a
higher list price and a bigger rebate.”)); Max Nisen, “Pharma’s Quieter Price War
Continues,” BLOOMBERG BUSINESSWEEK (Aug. 3, 2007).
  54 Linette Lopez, “These companies you’ve never heard of are about to incite another
massive drug price outrage,” BUSINESS INSIDER (Sep. 12, 2016), available at
https://www.businessinsider.com/scrutiny-express-scripts-pbms-drug-price-fury-2016-9

                                             42
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 43 of 105




the view that rebates contributed to misaligned incentives that put Defendant PBMs’

business interests before those of their clients or patients. 55

        87.   The problem has grown so significant that in February 2019 HHS proposed

a rule to change how PBMs are compensated. Although the proposed rule was ultimately

withdrawn, the commentary from the Secretary of Health and Human Services and the

Inspector General was not, and remains accurate and relevant. The Federal Register

notice for comment stated, inter alia, as follows:

              The prominence of rebate arrangements in the prescription drug
              supply chain has been cited as a potential barrier to lowering drug
              costs. For instance, the system may create incentives for
              manufacturers to raise list prices and discourage manufacturers
              from reducing their list prices or, in some cases, penalize them if
              they do.

              Often, a portion of PBM compensation is derived from the savings
              they create, or the gap between the list price and “net price.” This
              compensation may be derived from retaining a portion of the rebate,
              as well as receiving “price protection” payments from
              manufacturers. Rebates and price protection payments increase
              when list prices increase. Thus, there may be a greater incentive for
              a PBM to encourage the use of drugs with higher list prices,
              typically via preferred formulary placement, than the use of lower
              price drugs that would generate lower rebates or price protection
              payments. A manufacturer choosing to lower the list price of a
              drug would be reducing the gap between list price and “net”
              price, which would reduce either the size of the rebate or price
              protection guarantee. This could result in a drug being removed
              from the formulary or being placed in a less-preferred
              formulary tier. As a result, the current system works to the
              disadvantage of beneficiaries, and the Federal health care


  55National Pharmaceutical Council, Toward Better Value: Employer Perspectives on
What’s Wrong With the Management of Prescription Drug Benefits and How to Fix It
(October 2017), http://www.npcnow.org/system/files/research/download/npc-employer-
pbm-survey-final.pdf

                                               43
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 44 of 105




              programs. 56

        88.   The Secretary of Health and Human Service’s and Inspector General’s

observations have been echoed and confirmed by various entities throughout the health-

care industry. For example, the Alliance for Transparent and Affordable Prescriptions

(which represents various patient and provider groups 57 ) stated in comments to the

Proposed Rule that:

              [O]ur current system is such that the patient is encouraged to use the
              product that provides the most rebate potential to the PBM.
              Throughout the proposed rule, OIG highlights that the current rebate
              structure may actually result in PBMs placing more expensive
              products in a preferred formulary position over less expensive
              equivalents. This is because a more expensive product generates a
              higher rebate. This system benefits no one but the PBM.

              The current rebate system encourages pharmaceutical manufacturers
              to set high list prices, as these prices are just the starting point of
              negotiations with the PBM. OIG notes that this system is a
              “potential barrier to lowering drug costs.”

  56 Fraud and Abuse; Removal of Safe Harbor Protection for Rebates Involving
Prescription Pharmaceuticals and Creation of New Safe Harbor Protection for Certain
Point-of-Sale Reductions in Price on Prescription Pharmaceuticals and Certain Pharmacy
Benefits Manager Service Fees, A Proposed Rule by the Health and Human Services
Department, 84 Fed. Reg. 2340 (Feb. 6, 2019) (emphasis added), available at
https://www.federalregister.gov/documents/2019/02/06/2019-01026/fraud-and-abuse-
removal-of-safe-harbor-protection-for-rebates-involving-prescription-pharmaceuticals.
  57 American Association of Clinical Urologists, American College of Rheumatology,
Association of Women in Rheumatology, California Rheumatology Alliance, Coalition
of State Rheumatology Organizations, Florida Society of Rheumatology, Global Healthy
Living Foundation, International Foundation for Autoimmune & Autoinflammatory
Arthritis, Lupus and Allied Diseases Association, Inc., National Infusion Center
Association, National Organization of Rheumatology Managers, New York State
Rheumatology Society, North Carolina Rheumatology Association, Ohio Association of
Rheumatology, Rheumatology Alliance of Louisiana, Rheumatology Nurses Society,
South Carolina Rheumatism Society, Tennessee Rheumatology Society, and U.S. Pain
Foundation.

                                            44
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 45 of 105




                                              ***

              If net prices are flat or even declining, why do patients have more
              trouble than ever affording the medicines they need? The answer is
              that little of these savings make it to patients, because the “savings”
              are absorbed by the middlemen as revenue. Rebates are not savings
              for patients; they are income for PBMs. 58

        89.   Likewise, Navitus Health Solutions, a 100% pass-through PBM 59 stated in

comments to the HHS Proposed Rule that:

              [T]raditional PBM business models may drive up drug expenses by
              promoting higher cost agents in their quest to secure higher rebates
              from drug manufacturers because traditional PBMs often keep a
              portion of the rebates that they negotiate.

              [R]ebates from drug manufacturers warp the incentives that PBMs
              are operating under, creating a market dysfunction where the goals
              of CMS and the Part D plans are not aligned with those of the PBMs
              providing services to the plans. For PBMs, the amount of rebates
              that are paid to Part D plans are often used as a rough measure of
              performance by the plans and their consultants in the process of
              PBM service acquisition and ongoing PBM services. However,
              higher rebates are not necessarily a good proxy for lower costs. …
              When PBMs choose drugs with higher rebates but higher costs over
              comparable drugs with lower overall costs, then the total costs can
              be significantly higher for the plans and CMS in spite of the higher
              rebates.

  58Letter from Alliance for Transparent & Affordable Prescriptions to OIG (Apr. 2,
2019) at 2-3, available at https://static1.squarespace.com/static/
593e9cb8db29d6d8538e36a1/t/5ca3d2b8c8302522a6585dae/1554240185296/ATAP+--
+Rebate+Rule+Letter+2019.pdf.
  59  Unlike most PBMs, Navitus “pass[es]-through to [its] clients all of the payments
that [it] receives from drug manufacturers in the form of rebates, incentives,
administrative fees, data fees, and any other amounts that [it] receives from drug
manufacturers.” Testimony of Brent Eberle, R.Ph, MBA, Chief Pharmacy Officer,
Navitus Health Solutions, to the U.S. House of Representatives, Energy and Commerce
Committee Subcommittee on Health on May 9, 2019, at 1, available at
https://docs.house.gov/meetings/IF/IF14/20190509/109436/HHRG-116-IF14-Wstate-
EberleB-20190509.pdf.

                                            45
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 46 of 105




                                            ***

                If drug manufacturers are paying PBMs money that the PBMs keep,
                then the PBMs have an incentive that is not consistent with goals of
                lowering prices and overall costs. Instead, PBMs would have the
                incentive to keep manufacturers happy in order to continue
                receiving such payments from manufacturers. Manufacturers
                have the goal of increasing overall revenue, which normally
                means keeping their drugs on each formulary in a preferred status to
                increase sale volume for their drugs at the highest prices possible.
                Allowing drug manufacturers to continue to pay PBMs will
                allow the manufacturers to influence PBM decisions, implicitly
                or explicitly, including decisions to keep overpriced drugs on the
                formularies and continually enabling escalating drug prices.
                Regardless of what payments from manufacturers are labeled, they
                all impact PBMs’ incentives unless they are fully passed through to
                the plans, Part D beneficiaries, or CMS and used to reduce overall
                drug prices. 60

              2. Mylan Paid Bribes to the Defendant PBMs to Eliminate The Price-
                 Curbing Effects of Competition

        90.     As alleged above, in early 2013, EpiPen started facing competition from

Auvi-Q, a competing, bioequivalent, branded EAI device sold by Sanofi. At the time,

Sanofi was already well-known in the allergy space for the drug Allegra, and it brought

its resources and reputation to Auvi-Q. Sanofi spent tens of millions of dollars promoting

Auvi-Q and educating physicians and key allergy awareness groups on the benefits of

Auvi-Q. Sanofi also hired a large sales force to compete with Mylan.

        91.     Sanofi matched many of Mylan’s promotional programs, to maximize

patients’ access to Auvi-Q. Sanofi offered a discount program for schools to have access

to Auvi-Q. Sanofi also offered coupons to cover patients’ co-pays to help offset the

  60 Letter from Paul M. Page, General Counsel of Navitus Health Solutions to Aaron
Zajic, Office of Inspector General, Department of Health and Human Services (April 5,
2019) at 1, 3 (emphasis added).

                                             46
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 47 of 105




higher out-of-pocket costs of Auvi-Q, due to its lower status on third party payor drug

formularies.

        92.    In addition, in early 2013, Impax Laboratories started offering an EAI

device called Adrenaclick at much lower prices than EpiPen. Adrenaclick had previously

existed on the market under several different names and then was taken off the market for

about one year. In 2013, Adrenaclick returned to the market as a lower-priced generic

version of the original Adrenaclick product.

        93.    Rather than lower its prices in response to competition from Auvi-Q, Mylan

aggressively increased EpiPen’s list price in order to increase the rebates and

administrative fees it paid to PBMs, including Defendant PBMs, in exchange for: (a)

Mylan’s ability to raise its prices without penalty, and/or (b) formulary exclusivity.

Before the launch of Auvi-Q, EAIs were considered a “managed” product category; that

is, PBMs historically did not place competing injectors into different status tiers or

otherwise “prefer” one product over another. Before the launch of the Auvi-Q, Mylan

did not typically offer rebates for the EpiPen and, where it did so, Mylan’s rebates were

generally low, often below 10%. After Auvi-Q launched, Mylan entered into long-term,

multi-year contracts which offered much larger rebates — 30% or higher. Heather

Bresch, Mylan’s former CEO, told investors on a Q4 2015 Earnings Call that “in a very

competitive multi-epinephrine marketplace … we were maintaining market share. And

to do so, that required aggressive rebating.” 61

        94.    In a series of recent, 2019, court filings in an antitrust suit between Mylan
  61   Mylan Q4 2015 Earning Conference Call, Feb. 10, 2016.

                                              47
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 48 of 105




and Sanofi, Mylan has admitted that, starting in or about 2013: (a) Mylan was concerned

about formulary placement and price competition as a result of Sanofi’s entry; and (b)

Mylan paid increased rebates and fees to large PBMs in exchange for favorable (if not

exclusive) formulary placement. These are the very type of payments that the Secretary

of Health and Human Services has opined would violate the “Anti-Kickback Act” (42

U.S.C. § 1320a-7b(b)(2)), especially where the payments went into the PBM coffers and

did not flow down to the health-plan clients. 62

        95.   Mylan gave these improper bribes and kickbacks to the Defendant PBMs

not only to maintain EpiPen’s formulary status, but also to exclude or restrict Auvi-Q

and/or Adrenaclick from various formularies. In the Sanofi-Mylan antitrust case, Mylan

admitted that: (a) Mylan paid some PBMs rebates specifically for formulary exclusivity

(i.e., with EpiPen being the only EAI on the formulary), and/or formulary advantage (i.e.,

better tier placement and terms) versus other EAI products such as Auvi-Q; and (b) in

exchange for the increased rebates and fees, Mylan did, in fact, receive either complete

formulary exclusivity (i.e., with EpiPen being the only EAI on the formulary), and/or

formulary advantage (i.e., better tier placement and terms) versus other EAI products.

For example, from 2013-2015, seven PBMs made up 86% of the commercial market

(CVS Caremark, Express Scripts, OptumRx, Aetna, MedImpact, Prime, and Cigna).
  62 As alleged below, the Secretary of HHS has said that there is no “safe harbor” for
formulary placement payments because “[r]ebates paid by drug manufacturers to or
through PBMs to buy formulary position are not reductions in price. In the Secretary’s
[of HHS] view, such a payment would not qualify as ‘a discount or other reduction in
price.’” 82 F.R. 2340, at 2340 n.1. See also id. at 2343 (“To the extent those rebates are
paid to or through PBMs to buy formulary position, such payments would not be
protected by the discount statutory exemption.”).

                                             48
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 49 of 105




Four of these (Express Scripts, OptumRx, Aetna, and MedImpact) excluded or restricted

Auvi-Q and Adrenaclick in 2014.63 Three major ones (CVS, Prime, and Cigna) gave

Auvi-Q formulary coverage, but behind EpiPen.64 Mylan did not obtain its formulary

advantages through lawful price discounting, but rather through illegal bribes and

kickbacks.

        96.   Because, as alleged above, over 85% of EAI sales were covered by

private/commercial health-plans and insurers during the 2013 to 2015 period, formulary

coverage was crucial for a product to enter and compete vigorously in the EAI drug

device market. The devices are almost exclusively distributed to individual patients and

caregivers rather than through hospitals or other health care providers. Further, because

they are necessary, life-saving devices, patients generally will not tolerate a lengthy

appeals process to get coverage if their prescribed EAI drug device is not readily

available — they will simply choose the device that is covered with no hassle. Thus,

market access is based almost entirely on contracts with third-party payors, effectively

meaning PBMs.


  63 OptumRx and Express Scripts excluded Auvi-Q from their formulary starting in July
2013 and July 2014, respectively. Medimpact and Aetna imposed on Auvi-Q “step-edits”
which significantly restrict a products usage, in July 2013 and January 2014, respectively.
Prior to those exclusions/restrictions, Auvi-Q was listed on the formularies at Tier 3,
while EpiPen had preferential coverage at Tier 2.
  64 For example, while both EpiPen and Auvi-Q were covered on the CVS Caremark
formulary from July 2013 to July 2014, EpiPen was covered on Tier 2 and Auvi-Q was
covered on Tier 3. Similarly, Prime Therapeutics placed EpiPen as the exclusive EAI
device on Tier 2 on its national formulary in 2014, with Auvi-Q on Tier 3. From January
2013 through late 2015, Cigna covered EpiPen as the preferred brand on Tier 2 of its
main national formularies, and Auvi-Q as the non-preferred brand on Tier 3.

                                            49
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 50 of 105




D.     After Using Bribes And Kickbacks To Eliminate Defendant PBMs’ Incentives
       To Curb Mylan’s Pricing Power, Mylan Aggressively Raised EpiPen Prices

       97.    The purpose and effect of Mylan’s scheme were to (a) eliminate the

Defendant PBMs’ motivation to penalize Mylan for significant price increases; and (b)

eliminate/impede the price-restraining effect of competition from rival EAI products by

eliminating the threat that the Defendant PBMs would shift business to competing

products. Having paid bribes and kickbacks to the Defendant PBMs and other PBMs for

formulary placement for its EpiPen products, and being freed from the threat of

formulary exclusion, Mylan no longer faced the threat that the Defendant PBMs would

penalize it by shifting sales to competing EAI products if Mylan raised its prices too high.

Thus, Mylan no longer faced the price-disciplining effects from competing EAI products,

and it had carte blanche to raise EpiPen list prices. Mylan aggressively increased EpiPen

prices far beyond what it would have (and could have) done absent the scheme, in order

to: (a) shift the cost of its bribes and kickbacks to direct purchasers, such as Plaintiff (and

Class members), and (b) earn increased profits by raising its prices beyond simply the

amount of the bribes. The illicit, supra-competitive profits were split between Mylan and

the PBMs through the bribes and kickbacks.

       98.    In November 2013, Mylan increased EpiPen prices by 15%, and then made

five more successive increases, each by 15%, in or about May 2014, November 2014,

May 2015, November 2015 and May 2016. In approximately 4 years (from 2012 to

August 2016), EpiPen’s WAC price almost tripled — going from $219 to $609.




                                              50
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 51 of 105




Despite these huge price increases, Mylan’s market share has remained stable at

extraordinarily high levels, and its unit sales grew from 7.3 million EpiPens sold in 2012

to 8.3 million sold in 2015.

       99.    There were three effects from these price increases. First, the price hikes

increased the dollar value of the bribes to the Defendant PBMs. As alleged above, the

bribes were set as a percentage of EpiPen volume purchases based on EpiPen list prices.

As EpiPen’s list prices increased, so did the dollar-value of the bribes to the Defendant

PBMs. For example: (a) if Mylan sold 1000 units of EpiPens in July 2013 at a list price

of $219, then the total sales would be $219,000, and the 30% bribe or kickback to PBMs

would equal about $65,000; and (b) if Mylan sold 1000 units of EpiPens in August 2016

at a list price of $619, then the total sales would be $619,000, and the 30% kickback to

PBMs would equal about $185,000.

       100. Second, the price increases enabled Mylan to recoup the cost of the bribes
                                            51
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 52 of 105




by shifting the costs of the bribes to EpiPen direct purchasers (such as Plaintiff), who are

the first purchaser to pay the list price for drugs. On September 21, 2016, former Mylan

CEO Bresch testified before Congress about EpiPen’s high list prices. According to

Bresch, $334 of the $608 list price for an EpiPen 2-Pak can be attributed to payments to

PBMs (along with legitimate service fees to other types of entities). 65           As one

commentator observed, “Bresch asserted [that] Mylan had little choice but to jack up the

EpiPen list price to accommodate the middlemen’s demands for rebates and fees.”66 The

result is that Mylan has passed the cost of these bribes onto its direct purchasers (such as

Plaintiff), who have been forced to fund and finance Defendants’ bribery scheme.

        101. While the illegal bribes and kickbacks to the Defendant PBMs account for a

significant portion of the list price increases, the price increases also deliver increased

revenues and profits to Mylan. Thus, having used the bribes and kickbacks to eliminate

the Defendant PBMs’ gate-keeping efforts, Mylan used the list price increases as a way

of splitting the increased profits between itself and the Defendant PBMs.

        102. The fact that Mylan profited from the bribes and kickbacks to the

Defendant PBMs is evident from a September 2016 U.S. EpiPen Profitability Analysis

  65  Reviewing the Rising Price of EpiPens, Hearing before the United States House of
Representatives Committee on Oversight and Government Reform (Sept. 21, 2016)
(testimony of Heather Bresch, Chief Executive Officer, Mylan Inc.), available at
https://oversight.house.gov/wp-content/uploads/2016/09/2016-09-21-Mylan-CEO-
Bresch-Testimony.pdf.; CBS News, Mylan CEO on EpiPen drug price controversy: “I
get the outrage” (Jan. 27, 2017), http://www.cbsnews.com/newsepipen-price-hike-
controversy-mylan-ceo-heather-bresch-speaks-out.pdf.
  66  Michael Hiltzik, How 'price-cutting' middlemen are making crucial drugs vastly
more expensive, L.A. Times (June 9, 2017), http://www.latimes.combusiness/hiltzik/la-fi-
hiltzik-pbm-drugs-20170611-story.html.

                                            52
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 53 of 105




that was submitted to Congress and attached to a September 26, 2016 Mylan Form 8-K

filing. That U.S. EpiPen profitability analysis showed that after taking into account the

cost of the additional payments to the PBMs: (a) Mylan’s Operating Profit per EpiPen

grew 25% from 2012 to 2013, 57% from 2012-2014, and 97% from 2012-2016, and (b)

Mylan’s Net Product Profitability grew 43% from 2012 to 2013, 90.4% from 2012-2014,

and 148% from 2012-2016. And so, the extreme EpiPen price increases from 2013

forward not only covered the costs of the illegal PBM payments, but also enabled

Mylan’s EpiPen profits to soar.

       103. If the purpose and effect of Mylan’s payments to the PBMs were to provide

real “discounts” that reduced the ultimate prices that insurers, health-plans, and

consumers paid for EpiPens, then EpiPen’s “net” prices and net profitability (i.e., the

prices and profitability after the rebates) would decline (or at least stay flat) over time.

For example, if in 2012 Mylan was charging a net price (after discounts or rebates) of

$85 per EpiPen, and Auvi-Q’s or Adrenaclick’s entry forced Mylan to pay increased

rebates or “discounts” to price compete for sales, then EpiPen net prices and profits

would drop. But over the four-year period after Mylan started increasing its payments to

PBMs, EpiPen’s Operating Profit per EpiPen rose 97% and the Net Product Profitability

per pen rose 148%, even after considering the costs of the payments to PBMs.

       104. Thus, the bribes and kickbacks to the PBMs did not reduce the EpiPen’s

“net price” to health plans at all, but rather raised it, by giving Mylan free rein to raise

prices to extreme levels. For example, during much of the period from 2013-2016,

Andrenaclick’s list price was lower than EpiPen’s, yet from July 2013 to August 2016,

                                            53
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 54 of 105




EpiPen’s WAC price almost tripled — going from $219 to $609. Mylan continually

increased both its list and net prices without any apparent concern that it would be

punished by the Defendant PBMs who would use their formulary control to shift sales to

Auvi-Q or Adrenaclick. The fear that Defendant PBMs would use their formulary

muscle to shift sales to rival products should have limited Mylan’s pricing discretion,

regardless of EpiPen’s marketing efforts or brand-name recognition. Indeed, Mylan has

asserted that it felt the need to price compete in response to Auvi-Q’s 2013 entry, yet

over the four years after Mylan started increasing its payments to PBMs, EpiPen’s

Operating Profit per EpiPen surged 97% and the Net Product Profitability per pen leaped

148%, even after deducting the cost of the payments to PBMs. This reflects the fact that

Mylan’s bribes and kickbacks eliminated the price-disciplining fears that are one of the

key benefits from competition.

      105. Because EpiPen’s brand prices have not fallen since 2016, the price

increases caused by the bribes remain embedded in Mylan’s brand EpiPen prices.

Furthermore, because the price of the authorized generic EpiPen product that Mylan

introduced in December 2016 was benchmarked to the price of its branded EpiPen

product, the price of Mylan’s authorized generic product has been (and continues to be)

inflated by the price increases enabled by Mylan’s illegal payments to the PBMs.

      106. Absent the illegal bribes and kickbacks (and the Defendant PBMs’

derogation of their fidelity and/or fiduciary duties to the health-plan clients): (a) Mylan

would not have been able to increase EpiPen list prices to the extent it did, and (b)

Plaintiff and the other direct purchaser class members would have paid lower list prices

                                            54
          CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 55 of 105




for the branded EpiPen products they purchased. Furthermore, Mylan’s bribes and

kickbacks caused not only the artificial list price inflation for Mylan’s branded EpiPen

products, but also for Mylan’s “authorized generic” EpiPen products, the list price of

which is and was set as a percentage of Mylan’s supracompetitive brand list prices.

                 V.     FRAUDULENT CONCEALMENT AND TOLLING

A.         Lack Of Transparency In PBM Contracts With Drug Companies Conceals
           The Details Of Mylan’s Bribery And Kickback Conduct

           107. Because the insurers/health plans have no information about the Defendant

PBMs’ contract terms with the drug manufacturers, 67 Defendant PBMs are free to

negotiate the payment of money by drug makers that falls outside the contract between

the PBM and the insurer/health plan. As a result, Defendant PBMs secretly collect —

and retain — large amounts of drug company payments simply by labeling those drug

company payments differently than payments which the Defendant PBMs partly pass

through to the insurers/plans. On information and belief, these payments transcend any

particular plan, because they are based on total sales of a drug across the Defendant

PBM’s pool of plan clients. In short, contractual agreements often leave insurers/health

plans with little idea what the PBM is actually being paid by drug manufacturers, and

whether it is all being passed through to the insurer/health plan. Many payments from

drug companies to PBMs are shrouded in secrecy and difficult to track.

           108. In recent years, industry experts have confirmed this problem. For example,

     67
     It’s Time To Determine How Much Your PBM Is Depriving Your Plan Of Rebates:
File An “Accounting” Procedure, Nat’l Prescription Coverage Coalition,
http://nationalprescriptioncoveragecoalition.com/its-time-to-determine-how-much-your-
pbm-is-depriving-your-plan-of-rebates-file-an-accounting-procedure/

                                              55
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 56 of 105




Linda Cahn of Pharmacy Benefit Consultants, a well-known PBM consultant to health

plans, noted that PBMs routinely play a “Rebate Re-Labeling Game” in their client

contracts. PBMs define drug company rebates in narrow terms in order to remit only a

fraction of the amounts received from drug companies to their plan clients. 68 The

Burchfield Group, a PBM auditing company based in Saint Paul, Minnesota, has echoed

this concern. 69

        109. Likewise, the American Health Policy Institute has found that PBMs have

responded to plan demands that PBMs pass back 100% of drug company payments by

relabeling them:

              [T]he [PBM] industry has moved to ‘reclassifying’ the rebate dollars
              as ‘purchase order discounts’ or ‘administrative fees.’ Since the plan
              sponsor is often only contractually entitled to those things
              specifically defined in the contract as a ‘rebate,’ the PBM will
              pocket the purchase order discounts. Thus, while a plan sponsor
              may believe that it has negotiated a fully ‘transparent’ PBM deal
              (receiving 100 percent of the revenue coming from the
              manufacturer), what the plan sponsor doesn’t realize is that some
              portion of the rebates have been carved-off and paid to the PBM as a
              purchase order discounts or admin fee, etc. 70

  68 Linda Cahn, “Don’t Get Trapped By PBM’s Rebate Labeling Games” Managed
Care (Jan. 1, 2009), available at https://www.managedcaremag.com/archives/2009/1/
don-t-get-trapped-pbms-rebate-labeling-games.
  69 Chris Hanson-Ehlinger, Receive full value from your PBM rebates, Burchfield
Group (Nov. 20 2014), http://www.burchfieldgroup.com/pharmacy-benefit-
blog/bid/203233/Receive-full-value-from-your-PBM-rebates; Brett McCabe, Getting
Your Fair Share: 5 Tips for Optimizing PBM Rebates, Burchfield Group (Apr. 26, 2017),
http://www.burchfieldgroup.com/pharmacy-benefit-blog/getting-your-fair-share-5-tips-
for-optimizing-pbm-rebates.
  70 Henry C. Eickelberg, The Prescription Drug Supply Chain “Black Box” — How it
Works and Why You Should Care, Am. Health Pol’y Inst. (2015),
http://www.americanhealthpolicy.org/Content/documents/resources/December%202015_
AHPI%20Study Understanding the Pharma Black Box.pdf

                                            56
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 57 of 105




        110. HHS has remarked that PBMs hide from insurers/health plans the flow of

money from drug manufacturers. In the February 2019 Federal Register notice for its

proposed rule change, HHS wrote:

              3. THE REBATE SYSTEM IS NOT TRANSPARENT

              In some or many instances, plan sponsors under Medicare Part D
              and Medicaid MCOs have limited information about the percentage
              of rebates passed on to them and the percentage retained by their
              PBMs. The terms of rebate agreements manufacturers negotiate
              with PBMs may be treated as highly proprietary and, in many
              instances, may be unavailable to the plans. For example, in a 2011
              evaluation, OIG learned that some Part D plan sponsors had limited
              information about rebate contracts and rebated amounts negotiated
              by their PBMs. 71

Likewise, Congressman Earl Carter stated in a September 21, 2016 Congressional

hearing that “Nobody knows how much of this is going to the pharmacy benefits

manager, because there is no transparency.”72

        111. Similarly, the American Benefits Council has explained that PBMs conceal

from insurers/health plans the amount of moneys flowing to the PBMs from drug

manufacturers:


  71 Fraud and Abuse; Removal of Safe Harbor Protection for Rebates Involving
Prescription Pharmaceuticals and Creation of New Safe Harbor Protection for Certain
Point-of-Sale Reductions in Price on Prescription Pharmaceuticals and Certain Pharmacy
Benefits Manager Service Fees, A Proposed Rule by the Health and Human Services
Department, 84 Fed. Reg. 2340 (Feb. 6, 2019), available at
https://www.federalregister.gov/documents/2019/02/06/2019-01026/fraud-and-abuse-
removal-of-safe-harbor-protection-for-rebates-involving-prescription-pharmaceuticals.
  72Reviewing The Rising Price Of Epipens, Hearing Before The Committee On
Oversight And Government Reform House Of Representatives One Hundred Fourteenth
Congress Second Session September 21, 2016, at 65-66.

                                          57
CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 58 of 105




       The current rebate structure used in the marketplace is complex and
       opaque for many employers, making it hard for these employers as
       well as plan participants and beneficiaries to understand the true
       prices of drugs and the true value of how the rebate is calculated.
       While some PBMs may disclose the nature and extent of specific
       drug rebates, this practice varies by PBM and does not appear to be
       the norm across the industry.

                                       ***

       Even more important to employers than excluding rebates from the
       discount safe harbor is the need for increased transparency by the
       PBM regarding the extent of discount pricing, including but not
       limited to, volume-based rebates that the PBM is receiving so that
       plans can bargain in good faith with the PBM over the PBM’s
       retention of these amounts. This has been a desire for some in the
       employer community with respect to ERISA-covered plans for
       years. While retirement plan service providers are generally subject
       to upfront disclosure of the revenue they will earn with respect to a
       given plan pursuant to ERISA Section 408(b)(2), as well as back-end
       reporting to the plan on an annual basis regarding actual revenue
       earned, these rules do not apply to PBMs currently. Many
       employers believe increased transparency with respect to PBM
       rebates will help enable plan sponsors to work to recoup or
       otherwise retain some of these rebates for the benefit of plan
       participants and beneficiaries.

                                       ***

       Under the current structure, many employers may not be aware of
       the extent of a rebate on a given drug. Even if the employer is aware
       of the rebate, the rebates are typically based on volume and,
       therefore, rebates may be provided/paid to the PBM by the
       manufacturer long after the drug has been sold (and the plan has
       been initially charged). Moreover, not all employers may have the
       ability to audit or account for rebates adequately.

                                       ***

       As agents of the health plans with which they contract, the Council
       believes this PBM transparency requirement is important to ensure
       that the PBMs’ arrangements with pharmaceutical manufacturers are


                                    58
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 59 of 105




                 aligned with the services the PBMs provide to the health plans. 73

         112. 63% of employers surveyed by the National Pharmaceutical Council

expressed the view that PBMs lacked transparency in how they make money. 74

         113. PBM statements along with active concealment of information have

furthered and maintained the scheme in which Mylan paid Defendant PBMs undisclosed

bribes and kickbacks to act contrary to the interests of their insurer/health plan clients and

their patient members through: (a) large rebates and fees which did not flow to the

health-plan clients, and (b) huge list price increases as a vehicle to pay Defendant PBMs.

Notably, even where an insurer/health plan is aware of these PBM relabeling practices, it

is nonetheless unable to determine the total dollar or percentage amounts of drug

company payments that the PBM retains.              Indeed, PBMs refuse to disclose such

information to any plan client. 75

         114. From time to time, plans seek an audit in order to ascertain whether their

PBM is passing through the appropriate amount of drug company payments. During

these audits, PBMs ensure that their clients remain in the dark, unable to learn the true

  73   Id. at 3, 4-5, 6, 9.
  74National Pharmaceutical Council. Toward better value: employer perspectives on
what’s wrong with the management of prescription drug benefits and how to fix it.
October 2017. http://www.npcnow.org/system/files/research/download/npc-employer-
pbm-survey-final.pdf
  75 Stephan Barlas, Employers and Drugstores Press for PBM Transparency, A Labor
Department Advisory Committee Has Recommended Changes, Pharmacy and
Therapeutics (Mar. 2015), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4357353/;
Understanding Your PBM Contract, Pharmacy Benefit Consultants,
http://pharmacybenefitconsultants.com/understand-your-pbm-contract/; David Contorno,
Lawsuit Sheds Light on PBM Fees, Insurance Thought Leadership at *1-2 (Sept. 1,
2017), http://insurancethoughtleadership.com/lawsuit-sheds-light-on-pbm-fees/pdf/.

                                               59
        CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 60 of 105




cost of any specific drug, including EpiPens. For example, PBMs require all auditors to

execute an Auditor Confidentiality Agreement. These Auditor Confidentiality

Agreements uniformly preclude the auditor from sharing with its (and the PBM’s) plan

client any drug-by-drug rebate information or the terms of any drug company rebate

contract (including Defendant PBMs’ contracts with Mylan). The auditor is only allowed

to share the aggregate “rebate” amount the auditor ultimately concludes is owed to the

plan client. 76

         115. PBMs are so secretive about their collection and distribution of drug

company payments that, during an audit, PBMs, including Defendant PBMs, uniformly

(i) require preapproval of the client’s chosen auditor; (ii) restrict the number of drug

company contracts that can be reviewed to a very limited number (typically ten); (iii)

restrict the number of claims and time period that can be reviewed; (iv) refuse to allow

any drug company contract to be copied; (v) require a PBM representative to sit with

every auditor that is reviewing a drug company contract; and (vi) refuse to allow any

auditor to copy by hand the terms of any drug company contract, among other




   76Cahn, Eliminate All PBM Contract Loopholes; Testimony of Susan Hayes, Hearing
on PBM Compensation and Fee Disclosure, U.S. Dep’t of Labor (Aug. 20, 2014),
https://www.dol.gov/sites/default/files/ebsa/about-ebsa/about-us/erisa-advisory-
council/AChayes082014.pdf; PBM Compensation and Fee Disclosure, Report to Thomas
E. Perez, U.S. Secretary of Labor, U.S. Dep’t of Labor (Nov. 2014),
https://www.dol.gov/sites/default/files/ebsa/about-ebsa/about-us/erisa-advisory-
council/2014ACreport1.pdf; Robert Shelley & Brian Anderson - Presenters, PBM
Contracts: How to Use Audits and Market Checks to Improve Your Bottom Line, Atlantic
Info. Servs., Inc. (Jan. 28, 2014), https://aishealth.com/sites/all/files/file downloads/
c4p04f 012814.pdf.

                                           60
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 61 of 105




restrictions.77 Audits are more like spot checks — with little chance of being fulsome or

independent of restrictions imposed by PBMs.

         B.    Discovery Rule Tolling

         116. Plaintiff and the proposed Class had no way of knowing about Mylan’s

scheme and deception with respect to EpiPen’s list pricing and no way of knowing about

Mylan’s bribing of Defendant PBMs. Plaintiff and the proposed Class have little if any

interaction with PBMs, including Defendant PBMs.

         117. Mylan and Defendant PBMs refuse to disclose the real reasons behind

Mylan’s increased list prices for EpiPens, and have not until recently disclosed Mylan’s

scheme to bribe Defendant PBMs by way of increased EpiPen list prices.

         118. Specifically, prior to late September of 2016, Plaintiff and members of the

proposed Class could not have discovered, through the exercise of reasonable diligence,

that Mylan was concealing the conduct complained of herein and that the reason for its

list price increases to EpiPens was to bribe Defendant PBMs for favorable formulary

placement.

         119. Prior to late September of 2016, Plaintiff and the other Class members did

not discover, and did not know of facts that would have caused a reasonable person to

suspect, that Mylan was engaged in a bribery scheme using increased EpiPen list prices,

nor would a reasonable and diligent investigation have disclosed the true facts.

         120. For these reasons, all applicable statutes of limitation have been tolled by

operation of the discovery rule with respect to claims as to all EpiPens identified herein.

  77   Id.

                                             61
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 62 of 105




        C.     Fraudulent Concealment Tolling

        121. All applicable statutes of limitation have also been tolled by Mylan and the

Defendant PBMs’ knowing and active fraudulent concealment and denial of the facts

alleged herein throughout the period relevant to this action.

                            VI.    CLASS ACTION ALLEGATIONS

        122. Plaintiff brings this action on behalf of itself and all others similarly

situated under Federal Rule of Civil Procedure 23(a) and 23(b)(3), as representative of a

class defined as follows:

        All persons or entities in the United States and its territories that directly
        purchased EpiPen, EpiPen Jr., EpiPen 2-Pak, 78 and/or EpiPen Jr. 2-Pak
        from Mylan, or any authorized generic version thereof from January 1,
        2013 forward (the “Class”). Excluded from the class are the defendants and
        all federal governmental entities.

        123. The Class period is tolled to the earliest date of Mylan’s initiation of the

scheme described herein, wherein Mylan artificially inflated the list prices of its EpiPen

products to increase payments to PBMs in exchange for favorable formulary status. The

Class period runs through the date on which Mylan’s artificial inflation of EpiPen prices

ceases.

        124. Members of the Class are so numerous and geographically dispersed that

joinder of all members is impracticable. Plaintiff believes that the Class is over 40 in

number and widely dispersed throughout the United States. Moreover, given the costs of


  78An EpiPen 2-Pak is a package containing two EpiPen devices. As of August 2011,
Mylan stopped shipping single EpiPens and made EpiPens available only in 2-Paks.
Mylan Press Release, “Dey Pharma to Offer EpiPen 2-Pak and EpiPen Jr 2-Pak
Exclusively,” 8/24/2011.

                                             62
      CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 63 of 105




complex litigation, it would be uneconomic for many plaintiffs to bring individual claims

and join them together. The Class is readily identifiable from information and records in

the possession of Mylan.

       125. Plaintiff’s claims are typical of the claims of the members of the Class.

Plaintiff and all members of the Class were damaged by the same wrongful conduct of

Defendants. As a result of Defendants’ misconduct, Plaintiff like all direct purchasers

paid artificially inflated prices for EpiPens, and will continue to do so in the future.

       126. Plaintiff will fairly and adequately protect and represent the interests of the

Class. Plaintiff’s interests are coincident with, and not antagonistic to, those of the other

members of the Class.

       127. Plaintiff has retained counsel experienced in the prosecution of class action

litigation, who have particular experience with class action litigation involving

pharmaceutical products.

       128. Questions of law and fact common to the members of the Class

predominate over questions that may affect only individual Class members because

Defendants have acted on grounds generally applicable to the entire Class, thereby

making overcharge damages with respect to the Class as a whole appropriate. Such

generally-applicable conduct is inherent in Defendants’ wrongful conduct.

       129. Questions of law and fact common to the Class include, but are not limited

to:

          a. Whether Mylan engaged in a pattern and practice of paying illegal
             kickbacks and bribes, disguised as “rebates” and other sums, to the
             Defendant PBMs and to other PBMs, that were intended to, and did,
                                              63
CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 64 of 105




       induce the Defendant PBMs to give EpiPens favorable placement on
       the Defendant PBMs’ formularies;

    b. Whether Mylan and the Defendant PBMs engaged in a fraudulent
       and/or deceptive scheme or course of conduct — in the respective
       Mylan-PBM EpiPen Pricing Enterprises — by improperly inflating
       WAC prices of EpiPens that Plaintiff and Class members purchased;

    c. Whether Mylan had monopoly power;

    d. Whether Mylan artificially inflated WAC prices of EpiPens;

    e. Whether Mylan and the Defendant PBMs conspired for the purpose
       of carrying out the bribery and kickback scheme;

    f. Whether Mylan formed one-on-one enterprises with each of the
       Defendant PBMs for the purpose of carrying out the bribery and
       kickback scheme;

    g. Whether Mylan engaged in unlawful activity by paying kickbacks
       and bribes, and engaged in mail and/or wire fraud, in furtherance of
       the scheme;

    h. Whether the Defendant PBMs engaged in unlawful activity by
       soliciting and/or accepting kickbacks and bribes, and engaged in
       mail and/or wire fraud, in furtherance of the scheme;

    i. Whether the scheme caused Plaintiff and Class members to pay
       inflated prices for EpiPens;

    j. Whether Defendants engaged in a pattern of deceptive and/or
       fraudulent activity intended to conceal their conduct;

    k. Whether Defendants violated RICO;

    l. Whether Mylan’s conduct violated § 2 of the Sherman Act;

    m. Whether Defendants’ conduct affected interstate commerce;

    n. Whether Defendants are liable to Plaintiff and Class members for
       damages, measured as overcharges, from their misconduct; and

                                    64
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 65 of 105




          o. The amount of overcharge damages Plaintiff and the Class are owed
             as a result of Defendants’ unlawful conduct.

       130. A class action under Rule 23(b)(3) is superior to other available methods

for the fair and efficient adjudication of this controversy. Such treatment will permit a

large number of similarly-situated persons or entities to prosecute their common claims in

a single forum simultaneously, efficiently, and without the unnecessary duplication of

evidence, effort, or expense that numerous individual actions would engender. The

benefits of proceeding through the class mechanism, including providing injured direct

purchasers a method for obtaining overcharge damages on claims that could not

practicably be pursued individually, substantially outweighs potential difficulties in

management of this class action. Absent a class action, most members of the Class likely

would find the cost of litigating their claims to be prohibitive, and will have no effective

remedy at law. The class treatment of common questions of law and fact is also superior

to multiple individual actions or piecemeal litigation in that it conserves the resources of

the courts and the litigants, and promotes consistency and efficiency of adjudication.

       131. Plaintiff knows of no difficulty to be encountered in the maintenance of this

action that would preclude its maintenance as a class action.




                                            65
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 66 of 105




                                 VII.   CLAIMS FOR RELIEF

                                        COUNT ONE

      VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
            ORGANIZATION ACT (“RICO”), 18 U.S.C. § 1962(c)
                       (Against All Defendants)

       132. Plaintiff, on behalf of itself and all others similarly situated, re-alleges and

incorporates herein by reference each of the allegations contained in the preceding

paragraphs of this complaint.

       133. 18 U.S.C. § 1962(c) makes it “unlawful for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or

foreign commerce, to conduct or participate, directly or indirectly, in the conduct of such

enterprise’s affairs through a pattern of racketeering activity.”

       134. Defendants Mylan, CVS Caremark, Express Scripts and OptumRx are each

“persons,” as that term is defined in 18 U.S.C. § 1961(3).

       135. This count alleges violations of Section 1962(c) against defendants Mylan,

CVS Caremark, Express Scripts and OptumRx, as culpable persons under RICO.

       136. Under 18 U.S.C. § 1961(4), a RICO “enterprise” may be an association-in-

fact that, although it has no formal legal structure, has (i) a common purpose, (ii)

relationships among those associated with the enterprise, and (iii) longevity sufficient to

pursue the enterprise’s purpose.

       137. As alleged and described herein, Mylan formed respective association-in-

fact enterprises with each of CVS Caremark, Express Scripts and OptumRx, and

Defendants have conducted and/or participated in the conduct in the affairs of the RICO

                                             66
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 67 of 105




enterprises through a pattern of racketeering activity in violation of § 1962(c) for the

purposes of carrying out their scheme, which caused Plaintiff and the Class to pay

inflated prices for EpiPens.

       138. Plaintiff and the members of the Class are “persons” as defined in 18

U.S.C. §§ 1961(3) and 1964(c), have been financially injured as a result of Defendants’

unlawful conduct in the form of overcharges paid for EpiPen, and assert this count for

relief pursuant to 18 U.S.C. § 1964(c).

   A. THE MYLAN-PBM EPIPEN PRICING RICO ENTERPRISES

       139. The RICO enterprises are the following associations-in-fact consisting of

(a) Mylan, including its directors, employees, and agents, and (b) one of the three

Defendant PBMs, CVS Caremark, Express Scripts, or OptumRx (including its directors,

employees and agents), which administer insurance and prescription drug coverage of

EpiPens: (1) the Mylan-CVS Caremark association-in-fact enterprise; (2) the Mylan-

Express Scripts association-in-fact enterprise; and (3) the Mylan-OptumRx association-

in-fact enterprise. These association-in-fact enterprises are collectively referred to herein

as the “Mylan-PBM EpiPen Pricing Enterprises.”

       140. Each of the Mylan-PBM EpiPen Pricing Enterprises is an ongoing and

continuing business organization consisting of both corporations and individuals that are

and have been associated for the common and/or shared purposes of selling, promoting

and recommending for purchase, and administering prescriptions for EpiPens, and

deriving secret profits from these activities. These profits are greater than either Mylan



                                             67
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 68 of 105




or the PBMs could obtain absent their fraudulent concealment of the substantial “rebates”

and other fees from Mylan to the PBMs.

       141. As part of and to accomplish the common purpose of the Mylan-PBM

EpiPen Pricing Enterprises, Mylan systematically paid bribes and kickbacks — falsely

labeled as rebates, administrative fees and/or other monies — to the Defendant PBMs in

exchange for exclusive and/or favorable formulary placement. Mylan did so willfully,

knowing that the sales of EpiPens were based on inflated list prices. The Mylan-PBM

EpiPen Pricing Enterprises then reported Mylan’s list price increases to the general

public, and to the respective PBM’s insurer/health plan clients (and plan members), while

simultaneously concealing that the true reason for the price increases was to fund bribes

and kickbacks to the Defendant PBMs in exchange for formulary placement, and also to

increase the dollar value of those bribes and kickbacks to increase profits to both Mylan

and the Defendant PBMs.

       142. As outlined herein, the bribes and kickbacks paid by Mylan to the

Defendant PBMs, which the Defendant PBMs solicited and accepted, violated the federal

anti-kickback statute and various state anti-kickback statutes, as well as a number of state

bribery statutes. The bribes and kickbacks paid by Mylan caused the Defendant PBMs to

breach their duties of fidelity, and fiduciary duties, to their insurer/health plan clients

(and plan members), and likewise deprived the insurers/health plans that retained the

Defendant PBMs to develop, manage and administer formularies and prescription drug

programs and negotiate prices with Mylan of the honest services of the Defendant PBMs,

in that the PBMs: (a) favored Mylan’s higher-priced EpiPen products over lower-priced

                                            68
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 69 of 105




AEI products; and/or (b) encouraged rather than discouraged EpiPen price increases, both

of which were contrary to the economic interests of the insurers/health plans and their

plan members.

       143. Mylan’s list price increases were fraudulent, in that they were artificially

inflated to fund the bribes and kickbacks, which the Mylan-PBM EpiPen Pricing

Enterprises concealed. The Mylan-PBM EpiPen Pricing Enterprises also concealed the

economic purpose of these list price increases to Mylan and the Defendant PBMs: the

increases ultimately result in higher profits for Mylan, enabling it to purchase formulary

access without requiring significant price reductions; and they result in higher profits for

the Defendant PBMs, which earn rebates, fees and other compensation based on Mylan’s

list prices increases and sales volume. In addition, Mylan, as described above, realized

significant increases in net profit through its substantial list prices increases,

notwithstanding the increased payments (bribes and kickbacks) to Defendant PBMs

necessary to secure and maintain formulary placement of EpiPens, and resulting from

EpiPen sales.

       144. Each Mylan-PBM EpiPen Pricing Enterprise also shares a common purpose

of perpetuating the use of inflated EpiPen list prices. Mylan requires the inflated EpiPen

list prices in part to fund the bribes and kickbacks to the Defendant PBMs in exchange

for favorable formulary positions. The Defendant PBMs share this common purpose

because the inflated EpiPen list prices increase the value of the rebates, administrative

fees, and other monies they can keep, and thus increase their profits.           Formulary

placement determines which drugs are covered and prescribed for purchase. Given that

                                            69
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 70 of 105




rebates and other fees to the Defendant PBMs are determined and paid based in part on

sales, the Defendant PBMs provided formulary placement to EpiPen to ensure

prescriptions and sales of EpiPens, maximizing their financial gains. As a result, the

Defendant PBMs have, in concert with Mylan through the respective Mylan-PBM EpiPen

Pricing Enterprises, engaged in the hidden profit-making schemes, the Defendant PBMs

garnering rebates and other fees and compensation from Mylan that the Defendant PBMs,

to a significant extent, keep, and do not share with or provide to their insurer/health plan

clients (or plan members). Mylan, meanwhile, unlawfully and fraudulently obtained

sales, market share, and profits from EpiPens.

       145. Each of the Mylan-PBM EpiPen Pricing Enterprises has a systemic linkage

because there are contractual relationships, financial ties, and continuing coordination of

activities between Mylan and each Defendant PBM that is an associate in the respective

enterprise. As to each of the Mylan-PBM EpiPen Pricing Enterprises, there is a common

communication network by which Mylan and each PBM share information on a regular

basis, including information regarding EpiPen prices. As to each of the Mylan-PBM

EpiPen Pricing Enterprises, Mylan and each Defendant PBM functioned as a continuing

unit. At all relevant times, each of the Mylan-PBM EpiPen Pricing Enterprises was

operated for criminal and fraudulent purposes, namely, carrying out the bribery and

kickback scheme and its concealment.

       146. At all relevant times, the Mylan-PBM EpiPen Pricing Enterprises had an

existence separate and distinct from that of its members. Mylan, CVS Caremark, Express

Scripts and OptumRx are distinct corporate entities.        Further, each member of the

                                            70
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 71 of 105




respective RICO Enterprises has an existence separate and apart from the pattern of

racketeering activities of the RICO Enterprise.      Each Defendant carries on distinct

businesses and operations. However, as alleged and described herein, each member of

each Mylan-PBM EpiPen Pricing Enterprise was essential to the operation of the scheme

conducted through Mylan-PBM EpiPen Pricing Enterprises.

      147. The Defendant PBMs, at all relevant times, have been knowing and willing

participants in the conduct of the respective Mylan-PBM EpiPen Pricing Enterprises, and

have reaped large profits from that conduct. The Defendant PBMs used their position to

strike rebate deals with Mylan to receive bribes and kickbacks for EpiPens and profit

from Mylan’s inflated list prices.     The Defendant PBMs have represented to their

respective insurer/health plan clients (and plan members) and the public that the rebates

lower drug costs when, in fact, as the Defendant PBMs are well aware, the inflated list

prices required to fund the bribes and kickbacks to them in exchange for favorable

formulary placement increased drug costs, including list prices and downstream

reimbursement and cost-sharing obligations of health plans and their members.           In

addition, as part of and to further the respective schemes, the Defendant PBMs

misrepresent and/or conceal from insurer/health plan clients, plan members and the

public the existence, amount and purpose of the rebates, administrative fees and/or other

monies the Defendant PBMs are paid by Mylan as well as the effect of the rebates,

administrative fees and/or other monies on EpiPen list prices, and also publish, distribute

and disseminate materials and information concerning EpiPen list prices, net prices and



                                            71
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 72 of 105




the purpose of “rebates” and so-called “discounts” to conceal the Mylan-PBM EpiPen

Pricing Enterprises’ schemes.

      148. But for the Mylan-PBM EpiPen Pricing Enterprises’ common purpose of

inflating Mylan’s list prices to fund the bribes and kickbacks, the Defendant PBMs would

have had the incentive to disclose the fraudulent inflation of Mylan’s list prices, and

would have used their control over the management and administration of their health

plan clients’ formularies to penalize Mylan’s undue price increases. By concealing this

information, the Defendant PBMs and Mylan perpetuated the conduct of the Mylan-PBM

EpiPen Pricing Enterprises.

      149. The Defendant PBMs readily participated in the scheme so that they could

continue to earn money from the Mylan that was calculated based on EpiPen list price.

      150. In order effectuate the scheme, Mylan and each Defendant PBM met on a

regular basis to discuss EpiPen prices, formulary position, rebates, administrative fees,

other monies to the Defendant PBM, what the PBM had to do for Mylan in order to

obtain those monies, and coordination of all of the above.

      151. Further, the common communication network between each Defendant

PBM and Mylan effectuated the purpose of implementing the list price inflation and

rebate scheme and the exchange of financial rewards for the PBM activities that

benefitted — and continue to benefit — Mylan, as well as the Defendant PBMs.

      152. At all relevant times, Mylan and each Defendant PBM knowingly,

purposefully and willingly engaged and participated in the list price inflation and rebate



                                            72
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 73 of 105




scheme through each Mylan-PBM EpiPen Pricing Enterprise, and reaped substantial

profits from that scheme.

      153. The Mylan-PBM EpiPen Pricing Enterprises (Mylan-CVS Caremark,

Mylan-Express     Scripts,   and     Mylan-OptumRx)        knowingly   made     material

misrepresentations and/or omissions to the Defendant PBMs’ insurer/health plan clients

(and plan members) and to the general public in furtherance of the scheme regarding:

          a. The reasons for the list price increases of EpiPens;

          b. The existence, purpose and amount of the rebates and other monies paid to
             the Defendant PBMs;

          c. The effect of the rebates on EpiPen prices;

          d. The effect of the rebates and other monies on the Defendant PBMs’
             development, management and administration of their insurer/health plan
             client formularies;

          e. The extent to which Mylan negotiated rebates of EpiPens in good faith and
             for a proper purpose;

          f. Whether the rebates were intended to benefit insurers/health plans, plan
             members and/or the general public;

          g. Whether the rebates lowered drug costs for insurers/health plans and plan
             members;

          h. Whether the “preferred” formulary status of EpiPens reflects the drugs’
             safety, efficacy, or cost-effectiveness, as determined by the Defendant
             PBMs’ formulary committees;

          i. Whether the Defendant PBMs used their position regarding the
             development, management and administration for their own financial
             benefit and in contravention of the economic interests of their
             insurers/health plan clients (and plan members); and

          j. Whether EpiPens would have been placed in “preferred” formulary

                                            73
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 74 of 105




             positions absent the bribes.

      154. Mylan alone could not have accomplished the purposes of the Mylan-PBM

EpiPen Pricing Enterprises without the Defendant PBMs. For Mylan to profit from the

scheme, the Defendant PBMs needed to convince insurers and health plans to select their

formularies, on which EpiPens were given favorable treatment. And the Defendant

PBMs did so through misrepresentations: they told clients, potential clients, and investors

that they secured lower prices. Instead, Mylan inflated list prices and funded the bribes

and kickbacks in exchange for favorable placement on the Defendant PBMs’ formularies,

which resulted in increased drug costs. Without these misrepresentations, the common

purpose of the Mylan-PBM EpiPen Pricing Enterprises could not have been achieved.

      155. The foregoing evidences that Mylan and the Defendant PBMs were each

willing participants in the Mylan-PBM EpiPen Pricing Enterprises, had a common,

unlawful and fraudulent purpose and interest in the objective of the scheme, and

functioned within a structure designed to effectuate the Enterprises’ purposes, i.e., to

increase profits for both Mylan and the Defendant PBMs through list price increases,

bribes and kickbacks to the PBMs, and continued formulary status without price

reductions from Mylan, preserving and increasing Mylan’s profits.

      156. Further, the impacts of the Mylan-PBM EpiPen Pricing Enterprises are still

in place as a result of the EpiPen’s inflated list prices. As described herein, the bribes

and kickbacks are an essential part of the Mylan-PBM EpiPen Pricing Enterprises, and

are embedded in ongoing EpiPen prices, which likewise have inflated the price of



                                            74
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 75 of 105




Mylan’s authorized generic EpiPen. This conduct, which has been in effect since in or

about 2012, constitutes a threat of continued criminal activity.

   B. USE OF THE U.S. MAILS AND INTERSTATE WIRE FACILITIES/
      INTERSTATE COMMERCE

       157. During the Class period, each of the Mylan-PBM EpiPen Pricing

Enterprises engaged in and affected interstate commerce because it engaged and engages

in the following activities across state boundaries:           the sale, promotion and

recommendation for purchase, and/or administration of prescriptions for EpiPens; the

setting of the prices of EpiPens and price increase announcements in connection

therewith; the negotiation of formulary placement, rebate, and other contracts; the

transmission and/or receipt of sales and marketing literature; and the transmission and

receipt of invoices, statements, and payments related to the purchase, use, formulary

placement and/or administration of EpiPens. During the Class period, the Mylan-PBM

EpiPen Pricing Enterprises participated in the sale, promotion and recommendation for

purchase, and administration of prescriptions for EpiPens throughout the United States.

       158. During the Class period, the illegal conduct and wrongful practices by

Mylan and each Defendant PBM as part of and in furtherance of the Mylan-PBM EpiPen

Pricing Enterprises were carried out by an array of employees, working across state

boundaries, who necessarily relied upon frequent transfers of documents and information

and products and funds through the U.S. mails and interstate wire facilities.

       159. The nature and pervasiveness of the Mylan-PBM EpiPen Pricing Enterprise

schemes were concertedly orchestrated out of the Defendants’ corporate headquarters,


                                            75
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 76 of 105




and necessarily required Mylan’s headquarters to communicate directly and frequently by

the U.S. mails and by interstate wire facilities with the headquarters of each of the

Defendant PBMs, and vice versa.

      160. Most of the precise dates of the uses of the U.S. mails and interstate wire

facilities (and corresponding RICO predicate acts as outlined herein) have been hidden

and cannot be alleged without access to Defendants’ books and records. Indeed, an

essential part of the successful operation of the bribery and kickback scheme alleged

herein depended upon secrecy.       The Mylan-PBM EpiPen Pricing Enterprises took

deliberate steps to conceal the wrongdoing. Plaintiff can nevertheless generally describe

the occasions on which the RICO predicate acts of unlawful payment of bribes and

kickbacks, mail fraud, and wire fraud occurred, and how those acts were in furtherance of

the scheme.

      161. Mylan’s and the PBMs’ use of the U.S. mails and interstate wire facilities

to perpetrate the scheme of the respective Mylan-PBM EpiPen Pricing Enterprises

involved thousands of communications throughout the Class period including, inter alia:

       a.     Marketing materials about the list prices for EpiPens, which Mylan sent to
              the Defendant PBMs and others located across the country;

      b.      Written and oral representations about EpiPen prices that Mylan made at
              least annually and, in many cases, several times during a single year;

      c.      Thousands of written and oral communications discussing, negotiating,
              conditioning, and confirming the placement of Mylan’s EpiPens on a
              particular Defendant PBM’s formulary;

      d.      Written and oral representations to conceal the true reasons for EpiPen list
              price increases and to conceal the scheme;

                                           76
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 77 of 105




       e.      Written communications, including checks, wires and/or other payment
               mechanisms, relating to rebates, bribes, kickbacks, or other financial
               inducements paid by Mylan to each of the Defendant PBMs to induce it to
               place Mylan’s EpiPens on the Defendant PBMs’ formularies in an
               exclusive or favorable position;

       f.      Written and oral communications with U.S. government agencies and
               health plans and insurers that fraudulently misrepresented the reasons for
               list price increases, or that were intended to deter investigations into the
               true nature of the list price increases or to forestall changes to
               reimbursement based on something other than list prices;

       g.      Written and oral communications with direct purchasers from Mylan
               concerning the list prices;

       h.      Written and oral communications by the Defendant PBMs and/or Mylan
               with health plans, insurers and patients concerning list prices and/or the
               reasons for increases thereof;

       i.      Transmission of list prices from Mylan to third parties;

       j.      Receipts and payments of money on tens of thousands of occasions through
               the U.S. mails and interstate wire facilities, constituting the wrongful
               proceeds of the scheme; and

       k.      In addition to the RICO predicate acts, Mylan’s and each of the Defendant
               PBMs’ corporate headquarters have communicated through use of the U.S.
               mails and by interstate wire facilities with their own various local
               headquarters or divisions, in furtherance of the scheme.

   C. CONDUCT OF THE RICO ENTERPRISES’ AFFAIRS

       162. During the Class period, Mylan has exerted control over each Mylan-PBM

EpiPen Pricing Enterprise with which it is associated and, in violation of Section 1962(c)

of RICO, Mylan has conducted or participated in the conduct of the affairs of those

association-in-fact RICO enterprises, directly or indirectly, as follows:

            a. Controlling the list prices for EpiPens, which determine the amount of

                                             77
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 78 of 105




             rebates, administrative fees, and other monies each of the PBMs realize in
             compensation in exchange for formulary placement;

          b. Controlling EpiPen list prices and increases thereof that it publicly reports
             and purports to explain;

          c. Controlling the creation and distribution of marketing, sales, and other
             materials used to inform each of the Defendant PBMs of the profit potential
             of its EpiPens;

          d. Promoting the scheme through the U.S. mails, through interstate wire
             facilities, and through direct contacts with the Defendant PBMs;

          e. Providing bribes and kickbacks, falsely and misleadingly labeled as rebates
             or administrative fees, to induce the Defendant PBM to place Mylan’s
             EpiPens in a favorable position on the PBM’s formulary;

          f. Intending that the Defendant PBMs would (and did) distribute, through the
             U.S. mail and interstate wire facilities, promotional and other materials
             which claimed that rebates lowered drug costs for insurers/health plan
             clients and their plan members; and

          g. Publishing and announcing list price increases and the reasons therefor but
             concealing that the increases were to fund the bribes and kickbacks to the
             Defendant PBMs to secure exclusive and/or favorable formulary placement.

      163. Further, during the Class period, each Defendant PBM has exerted control

over each Mylan-PBM EpiPen Pricing Enterprise with which it is associated and, in

violation of Section 1962(c) of RICO, has conducted or participated in the conduct of the

affairs of those association-in-fact RICO enterprises, by, among other things as described

herein:

          a. Soliciting and/or obtaining bribes and kickbacks (falsely labeled as rebates,
             administrative fees, and/or other monies) in exchange for placing Mylan’s
             EpiPens in a favorable (exclusive or preferred) position on the PBM’s
             formularies;



                                           78
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 79 of 105




          b. Misrepresenting and/or concealing from insurer clients, health plan clients,
             plan members and the public the existence, amount, and purpose of the
             rebates, administrative fees and/or other monies from Mylan;

          c. Misrepresenting and/or concealing from insurer clients, health plan clients,
             plan members and the public the effect of the rebates, administrative fees,
             and/or other monies from Mylan on EpiPen list prices; and

          d. Publishing, distributing and disseminating materials and information
             concerning EpiPen list prices, net prices and/or the purpose of rebates and
             discounts to perpetuate and conceal the scheme.
D.     PATTERN OF RACKETEERING ACTIVITY

       164. Mylan and each of the Defendant PBMs have conducted and participated in

the affairs of their respective Mylan-PBM EpiPen Pricing Enterprise through a pattern of

racketeering activity under 18 U.S.C. § 1961, and committed the following violations

outlined below knowingly and with the intent to advance the scheme.

       165. Defendants’ pattern of racketeering has involved thousands, if not hundreds

of thousands, of acts, and has occurred over a number of years.

       166. All of Defendants’ racketeering activities amounted to a common course of

conduct, with a similar pattern and purposes. The payments of bribes and kickbacks,

misrepresentations and omissions, and separate uses of the U.S. mail and/or interstate

wires by Defendants and each Mylan-PBM EpiPen Pricing Enterprise were substantially

related, had similar intended purposes, involved similar participants and methods of

execution, and had similar results effecting similar victims. The racketeering activity

constitutes a threat of continuing criminal activity.

       167. Defendants have committed the following predicate acts, all constituting

racketeering activity under 18 U.S.C. § 1961.


                                             79
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 80 of 105




        1.    Violation of State Bribery Laws

        168. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of New Jersey.

Specifically, in violation of N.J.S.A. § 2C:21-10, Mylan conferred benefits on the

Defendant PBMs, which the PBMs solicited and/or accepted, in excess of $75,000 as

consideration for knowingly violating (or agreeing to violate) their duties of fidelity to

their various client insurers and health plans (and the participants therein) through the

rebate and administrative fee negotiations and formulary decisions and recommendations

alleged above. Moreover, in violation of N.J.S.A. § 30:4D-17(c), Mylan paid bribes to

the PBMs, which the PBMs solicited and/or accepted, to obtain favorable formulary

placement in connection with the furnishing of EpiPens, for which payment may be made

(or whose cost is or may be reported) in whole or in part under New Jersey’s P.L.1968, c.

413.

        169. Defendant PBMs owe a duty of fidelity to their health plan/insurance

clients (and the participants and beneficiaries thereof), because of (a) the contractual

relationships between the Defendant PBMs and their health plan/insurer clients and (b)

the PBMs’ position as agents, trustees, employees, and/or contractors for their health

plan/insurer clients. Because of the degree of reliance, trust and confidence that the

insurer/health plan clients give to Defendant PBMs in negotiating rebates and designing

and implementing formulary management, the Defendant PBMs have that duty of

fidelity.



                                           80
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 81 of 105




      170. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Missouri.

Specifically, in violation V.A.M.S. § 191.905(3), Mylan knowingly paid bribes to the

Defendant PBMs, which the Defendant PBMs solicited and/or accepted, to induce the

PBMs to use their control or influence over formulary design to refer insurers and health

plans (and their members) to Mylan for the furnishing or arranging for the furnishing of

EpiPens.

      171. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Minnesota.

Specifically, in violation M.S.A. § 609.86, Mylan has corruptly given consideration in

amounts exceeding $500 to the Defendant PBMs with the intent to purchase placement

on the Defendant PBMs’ formularies, which the PBMs solicited and/or accepted.

      172. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Rhode Island.

Specifically, in violation R.I. Gen. L. § 11-7-4, Mylan has corruptly given valuable

consideration to the Defendant PBMs, and each of them, as an inducement or reward for

favorable formulary placement on the Defendant PBMs’ formularies, which the PBMs

solicited and/or accepted.

      173. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Alabama.

Specifically, in violation of Ala. Code. § 22-1-11, Mylan has paid bribes to the Defendant

PBMs, which the PBMs solicited and/or accepted, to induce the Defendant PBMs to use

                                           81
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 82 of 105




their control or influence over formulary design to arrange for or recommend that

insurers/health plans (and their members or participants) purchase EpiPens, for which

payment may be made in whole or in part by the Alabama Medicaid Agency, or its

agents.

      174. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Connecticut.

Specifically, in violation Conn. Gen. Stat. § 53a-161d, Mylan paid bribes to the

Defendant PBMs, which the PBMs solicited and/or accepted, to influence the Defendant

PBMs to use their control or influence over formulary design to arrange for or

recommend that insurers/health plans (and their members and participants) purchase

EpiPens, for which a claim of benefits or reimbursement has been filed with a local, state

or federal agency.

      175. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Florida.

Specifically, in violation Fla. Stat. § 409.920, Mylan paid bribes to the Defendant PBMs,

which the Defendant PBMs solicited and/or accepted, in return for the Defendant PBMs

using their control or influence over formulary design to arrange for or recommend that

insurers/health plans and their participants purchase EpiPens, for which product payment

may be made in whole or in part under the Florida Medicaid program.

      176. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Illinois.

Specifically, in violation of 305 ILCS § 5/8A-3(c), Mylan paid bribes to the Defendant

                                           82
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 83 of 105




PBMs, which the Defendant PBMs solicited and/or accepted, in return for the Defendant

PBMs using their control or influence over formulary design to arrange for or

recommend that insurers/health plans and their participants purchase EpiPens for which

payment may be made in whole or in part under Illinois’s Public Aid Code.

      177. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Michigan.

Specifically, in violation of MCLS § 400.604, Mylan paid bribes to the Defendant PBMs,

which the Defendant PBMs solicited and/or accepted, to obtain favorable formulary

placement in connection with the furnishing of EpiPens, for which payment may be made

in whole or in part pursuant to a program established under Michigan’s Act No. 280 of

the Public Acts of 1939, as amended.

      178. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Mississippi.

Specifically, in violation of Miss. Code Ann. § 43-13-207, Mylan paid bribes to the

Defendant PBMs, which the Defendant PBMs solicited and/or accepted, to obtain

favorable formulary placement in connection with the furnishing of EpiPens, for which

payment may be made in whole or in part pursuant to the Medicaid program.

      179. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Utah.

Specifically, in violation of Utah Code Ann. § 26-20-4, Mylan paid bribes to the

Defendant PBMs in excess of $1,500, which the Defendant PBMs solicited and/or



                                          83
       CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 84 of 105




accepted, to induce the purchase of EpiPens, for which payment may be made in whole

or in part pursuant to a Utah medical benefit program.

        180. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Virginia.

Specifically, in violation of Va. Code Ann. § 32.1-315(B), Mylan paid bribes to the

Defendant PBMs, which the Defendant PBMs solicited and/or accepted, in return for the

Defendant PBMs using their control or influence over formulary design to arrange for or

recommend that health plans (and their participants) purchase EpiPens, for which

payment may be made in whole or in part under a Virginia medical assistance program.

        181. Comprising racketeering activity under 18 U.S.C. § 1961(1)(A), Mylan and

the Defendant PBMs have committed bribery under the laws of the State of Washington.

Specifically, in violation of Rev. Code Wash. § 74.09.240, Mylan paid bribes to the

Defendant PBMs, which the Defendant PBMs solicited and/or accepted, in return for the

Defendant PBMs using their control or influence over formulary design to arrange for or

recommend that health plans and their participants purchase EpiPens, for which payment

may be made in whole or in part under Washington public assistance or other applicable

law.

        2.    Violation of the Travel Act: Unlawful Activity of Bribery Under State
              Law

        182. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,


                                           84
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 85 of 105




and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of New Jersey, as set forth above.

      183. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Missouri, as set forth above. Moreover, and specifically in violation of

V.A.M.S. § 570.150(1)(3), Mylan paid bribes to the Defendant PBMs, which the

Defendant PBMs solicited and/or accepted, to influence the Defendant PBMs’ placement

of EpiPens on the Defendant PBMs’ formularies.

      184. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Minnesota, as set forth above.

      185. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Rhode Island, as set forth above.

      186. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

                                            85
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 86 of 105




facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Alabama, as set forth above.

      187. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Arkansas. Specifically, in violation of A.C.A. § 20-77-902(7)(A),

Mylan has knowingly paid bribes to the Defendant PBMs, which the Defendant PBMs

solicited and/or accepted, in return for the Defendant PBMs using their control or

influence over formulary design to arrange for or recommend that health plans and their

participants purchase EpiPens, for which payment may be made in whole or in part by the

Arkansas Medicaid Program.

      188. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Connecticut, as set forth above.

      189. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,



                                            86
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 87 of 105




and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Florida, as set forth above

       190. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Illinois, as set forth above.

       191. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Indiana. Specifically, in violation of Burns Ind. Code Ann. § 12-17.6-

6-12, Mylan knowingly and/or intentionally paid bribes to the Defendant PBMs, which

the Defendant PBMs solicited and/or accepted, in return for the Defendant PBMs using

their control or influence over formulary design to refer health plans and their

participants to EpiPens, for which payment may be made by the Indiana Children’s

Health Insurance Program.

       192. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Michigan, as set forth above.

                                              87
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 88 of 105




       193. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Mississippi, as set forth above.

       194. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Utah, as set forth above.

       195. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Virginia, as set forth above.

       196. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Mylan and

the Defendant PBMs have, in violation of 18 U.S.C. § 1952(a), used mail and wire

facilities in interstate commerce to intentionally promote, manage, establish, carry on,

and facilitate the unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery

under the laws of Washington, as set forth above.




                                              88
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 89 of 105




       3.     Violation of the Travel Act:        Unlawful Bribery Under the Anti-
              Kickback Act

       197. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Defendants

have, in violation of 18 U.S.C. § 1952(a), used mail and wire facilities in interstate

commerce to intentionally promote, manage, establish, carry on, and facilitate the

unlawful activity, as defined by 18 U.S.C. § 1952(b)(2), of bribery under the laws of the

United States. Specifically, in violation of 42 U.S.C. § 1320a-7b(b)(2) (the “Anti-

Kickback Act”), Mylan paid bribes to Defendant PBMs, which the Defendant PBMs

solicited and/or accepted, with the intention of purchasing, and in fact purchasing,

formulary placement for EpiPens for which payment may be made in whole or in part

under a Federal health care program. No “safe harbor” applies, because “[r]ebates paid

by drug manufacturers to or through PBMs to buy formulary position are not reductions

in price. In the Secretary’s [of HHS] view, such a payment would not qualify as ‘a

discount or other reduction in price.’” 82 F.R. 2340, at 2340 n.1. See also id. at 2343

(“To the extent those rebates are paid to or through PBMs to buy formulary position, such

payments would not be protected by the discount statutory exemption.”)

       198. The Anti-Kickback Act is a criminal prohibition against payments made

purposefully to induce or reward the referral or generation of federal health care business.

The Anti-Kickback Act criminalizes a drug manufacturer’s offer or payment of anything

of value in return for a PBM’s placing that manufacturer’s drug in a favorable formulary

position with respect to, in whole or part, a federal health care program. This includes a

drug manufacturer’s offer or payment to a PBM respecting private, nonfederal business


                                            89
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 90 of 105




that implicitly or explicitly requires that the PBM place the manufacturer’s drug in a

favorable position with respect to a federal health care program. The Anti-Kickback Act

extends not just to a drug manufacturer’s payment, but also to the solicitation or

acceptance of remuneration by PBMs.

       199. The OIG and the Secretary of HHS have long warned that “[l]ump sum

payments for inclusion in a formulary or for exclusive or restricted formulary status are

problematic and should be carefully scrutinized.” 68 FR 23731, at 23736 (2003).

       200. The OIG and the Secretary of HHS have also stated that PBMs are not, and

have never been, “buyers” within the meaning of the Anti-Kickback Act’s “safe harbor”

for “discounts.”    82 F.R. 2340, 2343 n.36 (2019) (“the payments manufacturers

retrospectively make to PBMs under rebate agreements would not constitute discounts or

other reductions in price to the extent such payments are retained by the PBM and not

passed through to any buyer”).

       201. The OIG and the Secretary of HHS have also stated, “Rebates paid by drug

manufacturers to or through PBMs to buy formulary position are not reductions in price.

In the Secretary’s view, such a payment would not qualify as ‘a discount or other

reduction in price.’” 82 F.R. 2340, at 2340 n.1. See also id. at 2343 (“To the extent those

rebates are paid to or through PBMs to buy formulary position, such payments would not

be protected by the discount statutory exemption.”).

       4.     Mail and Wire Fraud: Deprivation of Honest Services

       202. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Defendants

have, in violation of 18 U.S.C. § 1341, utilized the interstate mails, and have, in violation

                                             90
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 91 of 105




of 18 U.S.C. § 1343, utilized wires in instate commerce, in furtherance of a scheme or

artifice to defraud to deprive patients covered under plans of drug insurance, and the

insurers and plans themselves, of the right of honest services, namely by paying

Defendant PBMs bribes and kickbacks, solicited and/or accepted by the Defendant

PBMs, which, unknown to such covered patients and insurers/plans, were paid with the

specific intent that they serve as payment for formulary position in such plans of drug

insurance even though materially falsely and misleadingly labeled “rebates,”

“administrative fees,” and the like, and achieved through increases in EpiPen list price

that were falsely and misleadingly described, and which foreseeably caused Defendant

PBMs, in purposeful contravention of their fiduciary duty to covered patients and

insurers/plans, to change Mylan’s EpiPen position on the formulary, and intentionally

caused such covered patients and others to pay more for EpiPens, all in violation of 18

U.S.C. § 1346.

      203. Mylan paid bribes and kickbacks to Defendant PBMs in return for the

Defendant PBMs violating their fiduciary duties by using their control and/or influence

over formulary decisions to favor higher-priced EpiPen instead of lower-priced drugs,

even though that was contrary to the interests of the health plan/insurer principals who

retained the Defendant PBMs.

      204. The federal and state anti-kickback statutes discussed above make it illegal

for Defendant PBMs to receive rebates, administrative fees, or other moneys in exchange

for formulary placement if such payments are not passed along as purchase discounts and

disclosed to the federal government. These statutes impose upon the Defendant PBMs a

                                          91
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 92 of 105




duty of honest services when negotiating rebates, which requires (at a minimum) that

Defendant PBMs disclose that they are receiving kickbacks in exchange for

recommending and promoting higher-priced drugs over lower-priced drugs indicated for

the same uses.

       205. Because of the degree of discretionary control that the Defendant PBMs’

clients have over the negotiation of rebates, Defendant PBMs act as either common-law

agents and/or trustees in the negotiation of rebates regarding their clients’ drug purchases.

As common-law agents and/or trustees in the negotiation of rebates regarding their

clients’ drug purchases, the Defendant PBMs have duties of fidelity and honesty to not

misuse their negotiating powers in a manner that is contrary to, and harmful to, their

clients’ interests. It is contrary to these duties for a PBM to use its negotiating power to

receive rebates, administrative fees, and other monies by inducing manufacturers to

increase list prices of EpiPen, which price increases are detrimental to the Defendant

PBMs’ clients.

       206. Furthermore, in making recommendations and decisions regarding the

design, implementation, and administration of their clients’ formularies (including the

addition and deletion of drugs on the clients’ formularies and changes in drugs’ position

on their clients’ formularies) the Defendant PBMs act as common-law agents for their

clients. In cases that the Defendant PBMs have final, discretionary control over the

design and structure of their clients’ formularies, the Defendant PBMs act as common-

law trustees.      As common-law agents and/or trustees regarding the design,

implementation, and administration of their clients’ formularies, the Defendant PBMs

                                             92
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 93 of 105




have duties of fidelity and honest services in the Defendant PBMs’ design,

implementation, and administration of their clients’ formularies.

      207. Each Defendant PBM’s discretionary control and authority over its own

compensation, including control over the inputs to that compensation, make it a

functional fiduciary under common-law trustee principles. This fiduciary control and

authority arise by virtue of the PBM’s ability to negotiate the size of the payments it

receives, and to assign various labels and classifications to the payments. The label

Defendant PBMs apply to a particular payment, or portion thereof, determines the

amount retained by the PBM for its own account as opposed to the amount, if any,

remitted to the insurer/health plan. Even if, in some instances, Defendant PBMs pass

100% of certain “rebates” through to their clients, Defendant PBMs have applied

different labels to certain payments (or portions thereof) to conceal and retain a

significant portion of the payments they receive from drug manufacturers (including the

Mylan), which are hidden from or undisclosed to the PBM’s client. By dictating the

amount of the payments they receive from drug manufacturers, and ultimately keeping it

for themselves, Defendant PBMs set their own compensation for services.

      5.     Mail Fraud

      208. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Defendants

have, in violation of 18 U.S.C. § 1341, used the U.S. mails in conducting a scheme or

artifice to defraud, or for obtaining money or property by means of false or fraudulent

pretenses, representations, or promises. Specifically, as outlined above, Mylan’s EpiPens

have been promoted through the mails, thereby announcing to insurers, health plans and

                                           93
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 94 of 105




patients Mylan’s list price increases, but omitting the material fact that the reason for the

increased list prices was to fund, increase, and/or recoup Mylan’s bribes and kickbacks to

Defendant PBMs to secure formulary placement. Moreover, Defendants have falsely and

misleadingly called the bribes and kickbacks to the Defendant PBMs “rebates” — which

have been publicly represented as lowering drug costs — when they are, in fact, bribes

and kickbacks for formulary placement, which enabled Mylan to sell EpiPen at inflated

prices.

          209. Defendants’ pattern of racketeering likely involved thousands, if not

hundreds of thousands, of separate instances of use of the U.S. mails in furtherance of

their schemes.

          6.    Wire Fraud

          210. Comprising racketeering activity under 18 U.S.C. § 1961(1)(B), Defendants

have, in violation of 18 U.S.C. § 1343, transmitted or caused to be transmitted by means

of wire, radio, or television communication in interstate commerce, in conducting a

scheme or artifice to defraud, or for obtaining money or property by means of false or

fraudulent pretenses, representations, or promises. Specifically, as outlined above,

Mylan’s EpiPens have been promoted through electronic means, thereby announcing to

insurers, health plans and patients its list price increases, but omitting the material fact

that the reason for the increased list prices was to fund, increase, and/or recoup Mylan’s

bribes and kickbacks to Defendant PBMs to secure formulary placement. Moreover,

Defendants have falsely and misleadingly called the bribes and kickbacks to the

Defendant PBMs “rebates” — which have been publicly represented as lowering drug

                                             94
     CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 95 of 105




costs — when they are, in fact, bribes and kickbacks for formulary placement, which

enabled Mylan to sell EpiPen at inflated prices.

       211. Defendants’ pattern of racketeering likely involved thousands, if not

hundreds of thousands, of separate instances of use of interstate wires in furtherance of

their schemes.

E.     HARM CAUSED BY THE SCHEME

       212. Defendants’ violations of federal and state law and their pattern of

racketeering activity have directly and proximately caused Plaintiff and members of the

Class to be injured in their business or property by overpaying for EpiPens. Plaintiff and

the Class directly purchase EpiPen from Mylan, and thus were directly and immediately

harmed Mylan’s scheme. Mylan and each of the Defendant PBMs intended and foresaw

that Plaintiff and members of the Class would, by paying list prices for EpiPen, pay

substantial overcharges due to Defendants’ pattern of racketeering activity.

       213. During the Class period, Mylan paid bribes and kickbacks to the Defendant

PBMs in exchange for preferred formulary placement in order to maintain and/or increase

sales and profits.

       214. Though the Defendant PBMs could have used their control over the

development, management, and administration of the formularies and prescription drug

programs that their client insurers/health plans relied upon to drive down the prices for

EpiPens by forcing Mylan to lower its list prices, the Defendant PBMs instead leveraged

their position to solicit and obtain Mylan’s bribes and kickbacks for their own financial



                                            95
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 96 of 105




benefit and contrary to the economic interests of their insurer/health plan clients and plan

members.

       215. Rather than lower prices to gain market share via formulary inclusion,

Mylan instead engaged in a scheme with the Defendant PBMs through the Mylan-PBM

EpiPen Pricing Enterprises to corrupt the supply chain by artificially inflating list prices

in exchange for preferred formulary placement, shifting the cost of the bribes and

kickbacks to direct purchasers of EpiPens and sharing the financial benefits with the

Defendant PBMs.

       216. Absent the payment of bribes and kickbacks, and their achievement through

EpiPen list price increases, Mylan would have been forced to compete for preferred

formulary placement through lower prices, as they would in a legitimate market. As the

gatekeepers in the supply chain, the Defendant PBMs could and would have used

formulary placement (or exclusion) to penalize manufacturers who raised prices as Mylan

did here, rather than perversely rewarding manufacturers who raised prices and inducing

them to do so with favorable formulary placement.

       217. But for the payment of bribes and kickbacks to secure favorable formulary

placement, and their achievement through EpiPen list price increases, EpiPens would

have had a lower list price, and Plaintiff would have paid less for EpiPens. Plaintiff and

Class members have overpaid hundreds of millions of dollars for EpiPen purchased

directly from Mylan based on inflated list prices.

       218. Defendants’ racketeering activity directly and proximately caused

Plaintiff’s injuries because Plaintiff and the Class members were and are the initial and

                                            96
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 97 of 105




only direct purchasers of the EpiPens from Mylan. Further, given that Plaintiff and the

Class members were and are the most direct and immediate victim of the unlawful and

fraudulent schemes, Plaintiff and the Class members are best situated to vindicate the law

and seek recovery for the economic harm caused by Defendants based on the substantial

overcharges for EpiPen, which only Plaintiff and the Class members paid.

       219. By virtue of these violations of 18 U.S.C. § 1962(c), pursuant to 18 U.S.C.

§ 1964(c), Defendants are jointly and severally liable to Plaintiff and members of the

Class for three times the damages that Plaintiff and Class members have sustained, plus

the costs of bringing this suit, including reasonable attorneys’ fees.

                                       COUNT TWO

                    VIOLATIONS OF RICO, 18 U.S.C. § 1962(d)
                 BY CONSPIRING TO VIOLATE 18 U.S.C. § 1962(c)
                            (Against All Defendants)

       220. Plaintiff incorporates by reference all preceding paragraphs as if fully set

forth herein.

       221. Section 1962(d) of RICO provides that it “shall be unlawful for any person

to conspire to violate any of the provisions of subsection (a), (b) or (c) of this section.”

       222. Mylan and each of the Defendant PBMs have violated § 1962(d) by

agreeing and conspiring to violate 18 U.S.C. § 1962(c). The object of the respective

conspiracies has been and is to conduct or participate in, directly or indirectly, the

conduct of the affairs of the § 1962(c) Mylan-PBM EpiPen Pricing Enterprises described

previously through a pattern of racketeering activity.



                                              97
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 98 of 105




       223. As set forth in detail above, Defendants have engaged in numerous overt

and predicate unlawful and fraudulent acts, constituting a pattern of racketeering activity,

in furtherance of the conspiracy. Defendants intended to engage in the schemes resulting

in Plaintiff and the Class members paying substantial overcharges for Epipens.

Defendants knew that their predicate acts were part of a pattern of racketeering activity

and agreed to the commission of those acts to further the schemes outlined herein.

       224. The nature of the Defendants’ acts, material misrepresentations and

omissions in furtherance of the conspiracy, as set forth in detail above, gives rise to an

inference that they not only agreed to the objective of an 18 U.S.C. § 1962(d) violation of

RICO by conspiring to violate 18 U.S.C. § 1962(c), but that they were aware that their

ongoing unlawful and fraudulent acts have been and are part of an overall pattern of

racketeering activity.

       225. Defendants have engaged (and continue to engage) in the commission of

overt acts in furtherance of the Mylan-PBM EpiPen Pricing Enterprise schemes,

including the following unlawful racketeering predicate acts (as outlined in detail above):

       a.     Multiple instances of unlawful bribery and kickbacks in violation of 18
              U.S.C. § 1952 and various federal and state laws comprising racketeering
              activity under 18 U.S.C. § 1961;

       b.     Multiple instances of honest services fraud/deprivation under 18 U.S.C. §
              1346;

       c.     Multiple instances of mail fraud in violations of 18 U.S.C. § 1341; and

       d.     Multiple instances of wire fraud in violations of 18 U.S.C. § 1343.




                                            98
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 99 of 105




       226. Defendants’ violations of the above federal and state laws and the effects

thereof outlined in detail above are continuing and will continue. As a direct and

proximate of these violations, Plaintiff and members of the Class have been injured in

their business and property; Plaintiff and Class members have made hundreds of millions

of dollars in overpayments for EpiPens purchased directly from Mylan that they would

not have paid but for the Defendants’ conspiracies to violate 18 U.S.C. § 1962(c).

       227. By virtue of these violations of 18 U.S.C. § 1962(d), Defendants are liable

to Plaintiff and the Class for three times the damages Plaintiff and the Class members

have sustained, plus the costs of bringing this suit, including reasonable attorneys’ fees.

                                     COUNT THREE

                  VIOLATIONS OF SHERMAN ACT, 15 U.S.C. § 2
                            MONOPOLIZATION
                            (Against Mylan Only)

       228. Plaintiff re-allege and incorporate by reference the allegations in all of the

paragraphs above.

       229. Mylan’s willful maintenance of its ability to charge supra-competitive,

monopoly prices through a course of anticompetitive conduct, including payment of

bribes and kickbacks to Defendant PBMs to gain favorable formulary placement for its

EpiPens and exclude competitor’s products, constitutes unlawful maintenance of

monopoly power in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

       230. As a result of this unlawful maintenance of monopoly power, Plaintiff and

members of the Class paid artificially inflated prices for their EpiPen requirements. But

for Mylan’s illegal conduct, competitors would have either: (a) marketed competitive

                                             99
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 100 of 105




EAIs more successfully than they actually did, and/or (b) forced Mylan to lower its prices

or limit its price increases.

       231. The goal, purpose, and effect of Mylan’s conduct were to maintain and

extend its monopoly power with respect to EpiPens, including maintaining (and/or

increasing) its ability to charge supra-competitive prices. Mylan’s illegal conduct was

designed to prevent, delay, and/or minimize the success of competing EAIs, and to enable

Mylan to continue charging supra-competitive prices for EpiPens without a substantial

loss of sales.

       232. If manufacturers of competitive EAIs had been able to fairly compete with

Mylan’s EpiPens absent the anticompetitive conduct, Plaintiff and members of the Class

would have substituted lower-priced EAIs for some or all of their EpiPen requirements,

and/or would have received lower prices on some or all of their remaining EpiPen

purchases, in far greater quantities.    Furthermore, absent the bribes and kickbacks,

Defendant PBMs would have used their formulary control to force Mylan to lower its

EpiPen prices and/or limit the extent of its EpiPen price increases.

       233. During the relevant period, Plaintiff and members of the proposed Class

purchased substantial amounts of EpiPens directly from Mylan. As a result of Mylan’s

illegal conduct, alleged herein, Plaintiff and the members of the proposed Class were

compelled to pay, and did pay, artificially inflated prices for their EpiPen requirements.

Plaintiff and all other proposed Class members paid prices for EpiPens that were

substantially greater than the prices that they would have paid absent the illegal conduct



                                            100
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 101 of 105




alleged herein, including because class members were deprived of the opportunity to

purchase lower-priced competitive EAIs instead of expensive EpiPens.

         234. At all material times, EpiPens sold by Mylan were shipped across state

lines and sold to customers located outside their state of manufacture.

         235. During the relevant time period, in connection with the purchase and sale of

EpiPens, monies as well as contracts, bills and other forms of business communication

and transactions were transmitted in a continuous and uninterrupted flow across state

lines.

         236. During the relevant time period, various devices were used to effectuate the

illegal acts alleged herein, including the United States mail, interstate and foreign travel,

and interstate and foreign telephone commerce. Mylan’s activities were within the flow

of, and have substantially affected, interstate commerce.

         237. At all relevant times, Mylan had market power with respect to EpiPens

because they had the power to maintain the price of EpiPens at supracompetitive levels

without losing sales so as to make the supracompetitive price unprofitable.

         238. Direct proof exists that Mylan had monopoly power over the price of

EpiPens. Such direct evidence includes, among other things, the abnormally-high price-

cost margins enjoyed by Mylan and Mylan’s ability to profitably maintain EpiPens’ price

well above competitive levels.

         239. The existence of other EAIs has not significantly constrained Mylan’s

pricing of EpiPens. On information and belief, Mylan has never lowered the price of

EpiPens in response to the pricing of other branded or generic drugs or devices.

                                            101
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 102 of 105




       240. Mylan needed to control only the sales of EpiPens, and no other products,

in order to maintain the price of EpiPens profitably at supracompetitive prices.

       241. To the extent a relevant product market must be defined, the relevant

product market at issue in this case is EAIs.

       242. A small but significant, non-transitory price increase above the competitive

level for EpiPens did not and would not cause a significant loss of sales to other EAIs

sufficient to make such a price increase unprofitable.

       243. At all relevant times, Mylan had, and exercised, the power to exclude and

restrict competition to EpiPens.

       244. At all relevant times, Mylan enjoyed high barriers to entry with respect to

competition to EpiPens due to high costs of entry and expansion.

       245. The relevant geographic market is the United States and its territories,

possessions and commonwealth of Puerto Rico.

       246. From at least 2011 through 2017, Mylan’s enjoyed 80% to 98% of the EAI

market in the United States, implying monopoly power.

       247. But for the anticompetitive conduct alleged above, competitive EAIs,

including Auvi-Q, would have gained greater market entry into the EAI market.

       248. Mylan’s anticompetitive conduct had the purpose and effect of restraining

competition unreasonably and injuring competition by protecting EpiPens from

competition.

       249. But for Mylan’s anticompetitive conduct, Plaintiff and members of the

proposed Class would have paid less for EpiPens by substituting purchases of less-

                                            102
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 103 of 105




expensive EAIs for their purchases of more-expensive EpiPens, and/or purchasing

EpiPens at lower prices sooner.

       250. Thus, Mylan’s unlawful conduct deprived plaintiff and the Class of the

benefits of competition that the antitrust laws were designed to ensure.

                             DEMAND FOR JUDGMENT

       WHEREFORE, Plaintiff, on behalf of itself and the proposed Class, respectfully

demands that this Court:

                A.   Determine that this action may be maintained as a class action

       pursuant to Federal Rules of Civil Procedure 23(a) and (b)(3), and direct that

       reasonable notice of this action, as provided by Federal Rule of Civil Procedure

       23(c)(2), be given to the Class, and declare Plaintiff as the representatives of the

       Class;

                B.   Enter joint and several judgments against Mylan, CVS Caremark,

       Express Scripts, and OptumRx and in favor of the Plaintiff and the Class;

                C.   Award the Class damages (i.e., three times overcharges) in an

       amount to be determined at trial, pursuant to 18 U.S.C. § 1964(c) and 15 U.S.C. §

       15(a);

                D.   Award the Plaintiff and the Class their costs of suit, including

       reasonable attorneys’ fees as provided by law; and

                E.   Award such further and additional relief as the case may require and

       the Court may deem just and proper under the circumstances.



                                           103
    CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 104 of 105




                                     JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff, on behalf of itself and

the proposed class, demands a trial by jury on all issues so triable.

Dated: March 29, 2020                      Respectfully submitted,

                                           ROCHESTER DRUG CO-OPERATIVE, INC.


                                                  /s/E. Michelle Drake
                                           By: __________________________________
                                                 One of its Attorneys

                                           E. Michelle Drake, Bar No. 0387366
                                           BERGER MONTAGUE PC
                                           43 SE Main Street, Suite 505
                                           Minneapolis, MN 55414
                                           T. 612.594.5933
                                           F. 612.584.4470
                                           emdrake@bm.net

Peter Kohn                                 Bruce E. Gerstein
Joseph T. Lukens                           Noah Silverman
FARUQI & FARUQI, LLP                       GARWIN GERSTEIN & FISHER LLP
One Penn Center, Suite 1550                88 Pine Street, 10th Floor
1617 John F. Kennedy Blvd.                 New York, NY 10005
Philadelphia, PA 19103                     (212) 398-0055
(215) 277-5770                             bgerstein@garwingerstein.com
pkohn@faruqilaw.com                        nsilverman@garwingerstein.com
jlukens@faruqilaw.com
                                           Stuart E. Des Roches
David F. Sorensen                          ODOM & DES ROCHES, LLC
BERGER MONTAGUE PC                         650 Poydras Street, Suite 2020
1818 Market Street, Suite 3600             New Orleans, LA 70130
Philadelphia, PA 19103                     (504) 522-0077
(215) 875-3000                             stuart@odrlaw.com
dsorensen@bm.net

David Golub                                Susan Segura
Steven Bloch                               David C. Raphael, Jr.
SILVER GOLUB & TEITELL LLP                 SMITH SEGURA RAPHAEL & LEGER,
184 Atlantic Street                        LLP


                                             104
   CASE 0:20-cv-00827-ECT-TNL Document 1 Filed 03/29/20 Page 105 of 105




Stamford, CT 06901                221 Ansley Blvd.
(203) 325-4491                    Alexandria, LA 71303
dgolub@sgtlaw.com                 (318) 445-4480
sbloch@sgtlaw.com                 ssegura@ssrllp.com
                                  draphael@ssrllp.com




                                   105
